                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 2:09-md-02047-EEF-MBN Document 21527-3 F ed 07/16/18 Page 1 of 4

Claimant Source      Claimant Name              Affected Property      City          State   Zip     Omni(s)               Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings      Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per      Purchase Date Per   Sell Date if Applicable Counsel                            Counsel Address                  Counsel Phone    Counsel Email                                                            Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Amount Owed
Identifier                                      Address                                                                     Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                     Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer                BrownGreer       or Current Owner Per                                                                                                                                                                Banner, InEx                                                         Remediation                                                                                                                                                Aware property                                                                            Date Sold or                                                                                                                                                                                                                     Who Performed
                                                                                                                                                                                                                                                2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                         Already                                                                                                                  VA        Holdback                               Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                       Court                                                                                on        Date of                       Partially or                                                                Date          Alternative
                                                                                                                                Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                       Catalog                              BrownGreer           BrownGreer                                                              BrownGreer                                                                                                                             Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                       Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                                    Foreclosure or                              Short Sale Price                     Dates of           Work to     Total Cost for                                             Loss of Use  Diminution of
                                                                                                                                                                                                                                                [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                              Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                    KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy    Bankruptcy        Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                                Remediation       Living                                                                                 SPPF Comments/ Notes
                                                                                                                                                                                                                               Factor                                                                                                                                                                                                                                                                                                                                                                                          Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                           Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                                    Short Sale?                                 (if applicable)                    Remediation        Remediate     Remediation                                              and Enjoyment    Value
                                                                                                                                                                                                                                                                        [SF x B]                                                                                                                                                                                                                                                                                                                                                           Home (ARH)                                                                                                             Gross Award   Amount                                   KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                     Filed In                                                                         at time of    Short Sale                    Remediated?                                                                 Complete       Expenses
                                                                                                                                                                                                                                [A]                                                                                                                                                                                                                                                                                                                                                                                                                                   Expenses                                                             Expenses                                                                                                                                                    purchase?                                                                                Applicable                                                                                                                                                                                                                        Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (GBI)                                                              (PRALE)
   1    Add. Taishan 2522 Cambronne Street, 2514 Cambronne Street New Orleans        LA      70130   [II(B)], [XV],          12/6/2010   Yes      Yes          1638      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                                           D           PATE DANIEL J      Previous Owner, Did        City or County Tax              3/31/2006            10/24/2014       Pro Se                             Michael Toso, III               504-813-4913        michael@michaeltoso.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
        Prop.        LLC c/o Toso, Michael J.                                                        [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $154,742                                                                                                    PATE DAISY B       Not Own Property on        Records                                                                                                  1215 Prytania Street, Suite 429                                                                                                                                                                                                                  N/A                             No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                     III                                                                                                                                                         Footage                                                                                                                                                                                                              6/9/15                                                                                                                              New Orleans, LA 70130
   2    RP           Alexander, Henry and     4968 Pauline Drive  New Orleans        LA      70126   [III], [VII],           10/7/2009   Yes      Yes          2236      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13, 17                   I           CARTER STAFFORD D Previous Owner, Did         Tax Records + Title/Deed        9/28/1995             7/2/2012        Becnel Law Firm, LLC               Salvadore Christina, Jr., Esq. (985) 536-1186       schristina@becnellaw.com                                                                                                                                                                                                               3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                       Saw a news broadcast so I had the home
                     Penny                                                                           [XV], [XVI],                                                         Document with Square                                  0.86                 94.47             $211,235                                       DIG #3                                                       JR, CARTER YOLANDA Not Own Property on                                                                                                                 425 W. Airline Hwy, Suite B                                                                                                                                                                                                                      N/A                             No                             Residential     9/28/1995     6/12/2007                       5/2009                                                                  6/2/2012          No              Yes             No                                //                                        Short Sale                       6/2/2012       55000.00             No                                                                                  12,096.96           60,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                   inspected and it was found in the attic.
                                                                                                     [XVII]                                                                      Footage                                                                                                                                                                                           B, ETAL            6/9/15                                                                                                                              LaPlace, LA 70064
   3    RP           Alexis, Roselene and       4727 Rosalia Drive     New Orleans   LA      70163   [IX], [XV],              5/5/2011   Yes      Yes          1707               Other                    Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET    13, 17                    I           HARRELL TANISHA R  Previous Owner, Did        City or County Tax              6/14/2007             3/20/2013       Gainsburgh Benjamin                Gerald Meunier, Esq.            (504) 522-2304      gmeunier@gainsben.com
                     Louis, Exilus                                                                   [XVI], [XVII]                                                                                                                                                                                                    OR EXCEEEDS ASTM C1396                                                          Not Own Property on        Records                                                                                                  2800 Energy Centre                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                0.86                 94.47             $161,260                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No
                                                                                                                                                                                                                                                                                                                      04" matches DIG #3                                                              6/9/15                                                                                                                              1100 Poydras Street                                                                                                                                                                                                                                             Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
   4    RP           Almeida Properties, LLC 3325 Golden Drive,        Chalmette     LA      70043   [II], [VII], [XV],      3/15/2010   Yes      Yes          4542              Other                     Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           BSD DEVELOPMENT,        Previous Owner, Did City or County Tax                1/23/2007            12/15/2010       Thornhill Law Firm, Fayard &       Tom Thornhill, Esq.             800-989-2707        tom@thornhilllawfirm.com                                                                                                                                                                                                               3.20.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Even though the claimant sold the property, counsel is in possession of samples taken to preserve the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            identification of the Chinese drywall and to confirm impact.
                                             Apartments A-D                                          [XVI], [XVII]                                                                                                                                                                                                    Gypsum Incorporated                                          LLC                     Not Own Property on Records                                                                 Honeycutt APLC and N. Frank Elliot Thornhill Law Firm
                                                                                                                                                                                                                                                                                                                      Manufactured in P.R.C."                                                              6/9/15                                                                                      III, LLC                           1308 9th St                                                                                                                                                                                                                                                                                                                                                                              Property was renovated after Hurricane Katrina                                                                                                                                                                                                                                                                                                                                                            A declaration and lease was previously uploaded to the site. Loss of use from the lost rent is
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Slidell, LA 70458                                                                                                                                                                                                                                                  No                                                                                                                       by Claimant. Claimant discovered Chinese                                                                                                                                                                                                                                                                                                                                                           estimated at $79,900.00 which represents 94 months of lost rent at an average rent of $850.00 per
                                                                                                                                                                                                                                0.86                 94.47             $429,083                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     1/23/2007      6/1/2007          No           1/2010                                                                 12/13/2010         No              Yes             No                                //                                                                            //                               No                                                                                                      79,900.00       113,933.97
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                   drywall after investigations performed in                                                                                                                                                                                                                                                                                                                                                                         month. The loss of use claim is subject to amendment and increase.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     January 2010.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Diminution in value is being estimated at $113,933.97 for all four units together. This sum represents
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          the total amount expended by the claimant in renovations performed on the property which were
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               rendered worthless by the presence of Chinese drywall
   5    Ex 10/79     Almeida, Ximena            3513 Golden Drive      Chalmette     LA      70043   [II], [XV],             3/15/2010   Yes      Yes          3856      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           NGHS, LLC              Previous Owner, Did    Tax Records + Title/Deed        11/8/2006             1/30/2007       Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                     [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $364,276                                                                                                                           Not Own Property on                                                                                                               900 W. Morgan Street                                                                                                                                                                                                                           N/A                             No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                 Footage                                                                                                                                                                                                                  6/9/15                                                                                                                            Raleigh, NC 27603
   6    RP           Almeida, Ximena Bragg, 3329 Golden Drive          Chalmette     LA      70043   [XIII], [XV],            7/5/2011   Yes      Yes          3600      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "China Crescent City"         27                 D           NGHS, LLC              Previous Owner, Did    Tax Records + Title/Deed        1/23/2007             12/6/2010       Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                         3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely
                     Elisa                                                                           [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $340,092                                                                                                                           Not Own Property on                                                                                                               900 W. Morgan Street                                                                                                                                                                                                                           N/A                             No                             Residential     1/23/2007      4/1/2007                                              Homeowner Inspection                             12/2/2010                                         No                                //                                                                            //                                           2009 - 2010            Self             11,897.00        ??/2010                                            163,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                 Footage                                                                                                                                                                                                                  6/9/15                                                                                                                            Raleigh, NC 27603
   7    RP           Alveris, Lucille           3220 Oaks Drive        Violet        LA      70092   [II], [VII], [XV],      3/15/2010   Yes      Yes          1925      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                 D           JILES, MICHAEL W., SR. Previous Owner, Did    Tax Records + Title/Deed        12/9/2007             2/22/2008       Willis & Buckley                     William Buckley, Esq.            (504) 488-6301   bill@willisbuckley.com                                                                                                                                                                                                                 3.22.18                                                                                          She first became aware that the Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Claimant has submitted herewith several additional supporting documents, in addition to all previously
                                                                                                     [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $181,826                                                                                                                           Not Own Property on                                                                                                               3723 Canal Street                                                                                                                                                                                                                              N/A                             No                             Residential     12/9/2007     2/??/2008          No          ??/2008      contained Chinese drywall when it was found                 4/3/2009          No              Yes             No                                //                                                                            //                               No                                                                                  3,600.00            10,000.00       10,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         submitted documents, including Document ID's 344764, 327863, 212634, 175088, 175082.
                                                                                                                                                                                 Footage                                                                                                                                                                                                                  6/9/15                                                                                                                            New Orleans, LA 70119                                                                                                                                                                                                                                                                                                                                                                            during an inspection in 2008.
   8    RP           Bartholomew, Bonnie        2820 Meadow Drive      Violet        LA      70092   [VII], [XV],            1/14/2011   Yes      Yes          1260               Other                    Yes                                                                         Crescent City   Photo          "Crescent City"               27                 D           LEBOUEF, CAMERON       Previous Owner, Did    City or County Tax               4/3/2008             6/11/2013       Lemmon Law Firm                      Andrew Lemmon, Esq.              985-783-6789     andrew@lemmonlawfirm.com                                                                                                                                                                                                               3.12.18
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                                                                                                        Not Own Property on    Records                                                                                                    PO Box 904 (mailing address)                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                0.86                 94.47             $119,032                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     4/1/2008        //2007           No           3/2010              Inspection on March 11, 2010.                       6/11/2013                                         No                                //                                        Foreclosure                         //
                                                                                                                                                                                                                                                                                                                                                                                                          6/9/15                                                                                                                            15058 River Road                                                                                                                                                                                                                                              Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Hahnville, LA 70057
   9    RP           Berthaut, Colin and Gelpi, 1218 Magnolia Alley, Mandeville      LA      70471   [III], [VII],           10/7/2009   Yes      Yes          1737      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15                         I           ANDERSON, KATRINA       Previous Owner, Did Tax Records + Title/Deed          11/11/2008            3/15/2011       Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                         3.21.18
                     Colin                      Lot 42                                               [XV], [XVI],                                                        Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396-                                                               Not Own Property on                                                                                                              338 Lafayette Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                  Partially    11/10/2010 -
                                                                                                                                                                                                                                0.79                 86.78             $150,737                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential    11/11/2008     3/15/2009          No           3/2009                                                                  3/15/2011         No              No              No                                //                                        Short Sale      $267,963.41     3/15/2011      110,000.00                                                                40,622.16        4/2014         54,175.75           52,128.00
                                                                                                     [XVII]                                                                                                                                                                                                           04 STANDARD" matches DIG                                                             6/9/15                                                                                                                           New Orleans, LA 70130                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated       5/3/2014
                                                                                                                                                                                                                                                                                                                      #3
  10    RP           Bertholette, Anna and      4412 Olive Drive       Meraux        LA      70075   [III], [VII], [IX],     10/7/2009   Yes      Yes          1776      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "EXCEEDS ASTM C1396"     21                      I           WAUKESHA, JACKSON Previous Owner, Did Tax Records + Title/Deed                7/30/2008             3/4/2013        Bencomo & Associates                 Raul Bencomo, Esq.               (504) 289-2239   raul@bencomolaw.com                                                                                                                                                                                                                    3.21.18
                     Lund, Leslie                                                                    [XV], [XVI],                                                        Plan and Square Footage                                                                                                                      matches DIG #3                                               & STEWART,        Not Own Property on                                                                                                                    639 Loyola Avenue                                                                                                                                                                                                                                                No
                                                                                                                                                                                                                                0.86                 94.47             $167,779                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No
                                                                                                     [XVII]                                                                                                                                                                                                                                                                        CHRISTOPHER       6/9/15                                                                                                                                 Suite 2110                                                                                                                                                                                                                                                    Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70113
  11    RP           Boasso, Walter             12 Brittany Place      Arabi         LA      70032   [XIII], [XV],            7/5/2011   Yes      Yes          3102      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 17, 18                     I           DOODY, KATHLEEN         Previous Owner, Did City or County Tax                6/28/2006            10/19/2012       Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                       3.15.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              I have had to live in this property containing Chinese Drywall and have suffered the side effects of
                                                                                                     [XVI], [XVII]                                                       Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396-                                       BRIDGET                 Not Own Property on Records                                                                                                      724 East Boston Street                                                                                                                                                                                                                                                                                                                                                                 Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                                           same. The house was acquired post Katrina for $150,000.00 and I spent $250,000.00 on
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                  Partially
                                                                                                                                                                                                                                0.86                 94.47             $293,046                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     6/28/2006      9/1/2006          No           7/2009        of copper surfaces and Failure of various                10/17/2012         No              No              No                                //                                                                            //                                         1/1/10 to 5/1/12         Self                                                                300,000.00       300,000.00   renovations. It was valued at $380,000.00. After Chinese Drywall was discovered, it was gutted and
                                                                                                                                                                                                                                                                                                                      04 STANDARD" matches DIG                                                             6/9/15                                                                                                                           Covington, LA 70433                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                electrical appliances                                                                                                                                                                                                                                                                                                                                                                     sold in October 2012 for $150,000.00 but I only cleared $139,606.00 after closing cost. Therefore
                                                                                                                                                                                                                                                                                                                      #3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            there was a loss of$260,394.00.
  12    RP           Borne, Barry and Mary      1217 Magnolia Avenue Mandeville      LA      70124   [II(C)], [III],         10/7/2009   Yes      Yes          1652        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15, 17, 21                 I           JACKSON, DONNA S        Previous Owner,     Tax Records + Title/Deed           6/6/2007                             The Lambert Firm                 Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                            3.21.18                                                                                                                                                                                                                                                                                                                                                                 Started 7/20/10 Luis Canale and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely                                                                                                34,200 loss of
                                                                                                     [VII], [XV],                                                                                                               0.86                 94.47             $156,064                                       OR EXCEEDS ASTM C1396-                                                               Unknown Purchase                                                                                                             701 Magazine St,                                                                                                                                                                                                                                   N/A                             No                             Residential     6/6/2007       1/1/2007          No           2/2009                           N/A                                    6/5/2013          No              No              No                                //                                                                            //                                          and completed       Drisrill             45,693.92        3/2011                                             53,400.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                                                                                                    rental
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                    04" matches DIG #3                                                                   Date                                                                                                                         New Orleans LA 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     03/2011      Environmental
  13    RP           Bourg, Junius              2031 Benjamin Street Arabi           LA      70032   [III], [VII],           10/7/2009   Yes      Yes           748      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13                       I           WILCOX, BELLAZAR        Previous Owner, Did City or County Tax                1/24/2007             5/16/2014       Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                               3.26.18                                                                                         I repaired the property after Katrina and had
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I had the house under contract to sell for $100,000.00 and the sale was lost due to the finding of
                                                                                                     [XV], [XVI],                                                         Document with Square                                                                                                                        DIG #3                                                       HERNANDEZ               Not Own Property on Records                                                                                                  Becnel Law Firm, LLC                                                                                                                                                                                                                                                 No                                                                                                                    the sold under contract. At the final inspection,
                                                                                                                                                                                                                                0.86                 94.47              $70,664                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     8/??/2006      8//2006           No          ??/2009                                                                   5//2014                                          No                                //                                                                            //                               No                                                                                                      50,000.00       70,000.00     Chinese Drywall. 4 years later, I sold the home as is for $30,000.00. I lost $70,000.00 as a result
                                                                                                     [XVII]                                                                      Footage                                                                                                                                                                                                                   6/9/15                                                                                                                       425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                       Inspection                                                                                                                 the inspector found Chinese Drywall and the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           besides having to pay uupkeep and taxes for an extra 4 years.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                         sale was cancelled.
  14    Add. Taishan Bourgeois, Marc and Julie 4315 Annunciation       New Orleans   LA      70115   [II(A)], [III(A)],      9/16/2010   Yes      Yes          2112        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          Made in China Crescent City   27                 D           SHOEMAKER MARC D Previous Owner, Did City or County Tax                        8/1/2007             2/1/2011        Gainsburgh Benjamin              Gerald Meunier, Esq.                 (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                  3.30.18
        Prop.                                  Street                                                [VII], [XV],                                                                                                                                                                                                     Gypsum Incorporated                                          & SHOEMAKER SHERI L Not Own Property on Records                                                                                                      2800 Energy Centre                                                                                                                                                                                                                                                   No                                                                                                                    During the inspection process when I attempted
                                                                                                                                                                                                                                0.86                 94.47             $199,521                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     8/1/2007       2/5/2009          No           5/2010                                                                      //                                            No                                //                                        Foreclosure     $271,593.62      4/6/2011
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                    Manufactured in P.R.C.                                                           6/9/15                                                                                                                           1100 Poydras Street                                                                                                                                                                                                                                               Inspection                                                                                                                      to sell the property in May 2010.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70163
  15    Add. Taishan Braselman, Holly           1206 Magnolia Alley    Mandeville    LA      70471   [II(C)], [III],         10/7/2009   Yes      Yes          2079      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS         17                 I           COOK, JOHN F JR ETUX Previous Owner,          City or County Tax         3/30/2007            Unknown               The Lambert Firm                 Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                            3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
        Prop.                                                                                        [VII], [XV],                                                        Plan and Square Footage                                0.79                 86.78             $180,416                                       OR EXCEEDS ASTM"                                                                  Unknown Purchase         Records                                                                                                701 Magazine St,                                                                                                                                                                                                                                   N/A                             No                             Residential     3/30/2007       //2006           No           6/2009                                                         No      10/29/2010         No              Yes                                               //                                        Short Sale       $290,000       10/29/2010       139,900                                                                                                  3000.00            25,000.00        166,100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                                                                                                      Date                                                                                                                            New Orleans LA 70130
  16    Ex 10/79     Breckenridge, Russell      311 South Laurel StreetAmite         LA      70422   [III(A)], [VII],        9/16/2010   Yes      Yes          2214      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 17                       I           KORNEGAY KAREN G     Previous Owner, Did      Tax Records + Title/Deed        10/25/2005              2013          Hawkins Gibson                   Edward Gibson, Esq.                  (228) 467-4225   egibson@hgattorneys.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely
                                                                                                     [XV], [XVI],                                                         Document with Square                                  0.79                 86.78             $192,131                                       DIG #3                                                                            Not Own Property on                                                                                                             153 Main St                                                                                                                                                                                                                                        N/A                             No                                                //             //             No          12/2009                                                         No           //           Yes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                     [XVII]                                                                      Footage                                                                                                                                                                                                                6/9/15                                                                                                                          Bay St Louis, MS 39520
  17    Ex 10/79     Broesder, Stanley          3012 Charles Drive     Chalmette     LA      70043   [III], [XV],            10/7/2009   Yes      Yes          1500               Other                    Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."      27                 D           SALINAS, IRMA        Previous Owner, Did      City or County Tax              6/29/2010            10/24/2012       Reich & Binstock                 Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                            4.4.18                                                                                           Through an inspection conducted by Gifford                                                                                                                                                                                                                                                                       Unknown,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Will supplement
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                                                                                                      Not Own Property on      Records                                                                                                4265 San Felipe, Suite 1000                                                                                                                                                                                                                                          No                                                                                                                    Environmental Consulting, LLC on June 26, 2009                                                                                                                                                                                                              Completely                                            property was                       ???, Will           ???, Will
                                                                                                                                                                                                                                0.86                 94.47             $141,705                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     11/8/2006     ??/??/2005         No           6/2009                                                         No           //            No              No              No                                //                                        Foreclosure   Will supplement    ??/??/??     Not Applicable                   Will supplement.      information                           ??/??                                                N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                               to determine if Chinese drywall was present on                                                                                                                                                                                                              remediated                                              sold after                     supplement          supplement
                                                                                                                                                                                                                                                                                                                                                                                                        6/9/15                                                                                                                          Houston, TX 77027                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       from contractor.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the property.                                                                                                                                                                                                                                                                                    foreclosure.
  18    Ex 10/79     Brown, Keith and Lacy      2446 Presburg Street   New Orleans   LA      70122   [II], [IX], [XV],       3/15/2010   Yes      Yes          2061      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           DOMINIQUE JOSHUA M Previous Owner, Did City or County Tax                      5/6/2009             6/5/2015        Parker Waichman                      Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                                   3.6.18                                                                                        The property was bought gutted. Keith and Lacy
                                                                                                     [XVI], [XVII]                                                       Plan and Square Footage                                                                                                                      Gypsum Incorporated                                          DOMINIQUE CARMEN Not Own Property on Records                                                                                                             27300 Riverview Center Blvd                                                                                                                                                                                                                                                                                                                                                              did construction on the house at that time. It                                                                                                                                                                                                                                               Eddie Scott
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                  Partially      2/1/2011-
                                                                                                                                                                                                                                0.86                 94.47             $194,703                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     3/1/2008      4/??/2008          No           7/2009       was at this time that the drywall was placed               6/5/2015          No              No              No                                //                                                                            //                                                               Superior            37,651.00        6/2011         5,620.00           150,000.00           0
                                                                                                                                                                                                                                                                                                                      Manufactured in P.R.C."                                      H                  6/9/15                                                                                                                                Bonita Springs, FL 34134                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated       6/1/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    into our home. We were unaware the drywall                                                                                                                                                                                                                                                   Enterprise Inc
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    was defective.
  19    Ex 10/79     Brown, Kerri and Jack      2729 Reunion Drive     Violet        LA      70092   [IX], [XV],              5/5/2011   Yes      Yes          1800      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                      I           LEONARD, JEMAYEL        Previous Owner, Did City or County Tax                 6/3/2009             1/7/2014        Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                     [XVI], [XVII]                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                Not Own Property on Records                                                                                                      Young Law Firm                                                                                                                                                                                                                                                   No
                                                                                                                                                                                                                                0.86                 94.47             $170,046                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No
                                                                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                                             6/9/15                                                                                                                           1010 Common St., Suite 3040                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                    New Orleans, LA 70112
  20    Ex 10/79     Burton, Rose and Tebault 3711 Golden Drive,       Chalmette     LA      70043   [III], [IX], [XV],      10/7/2009   Yes      Yes           861        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                          I           3711 GOLDEN, LLC 1/2    Previous Owner, Did Tax Records + Title/Deed          11/22/1991            2/24/2012       Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                 3.23.18
                                              Apt. 2                                                 [XVI], [XVII]                                                                                                                                                                                                    OR" matches DIG #3                                                                   Not Own Property on                                                                                                              8301 W. Judge Perez Drive,                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         lost rentals based uon monthly loss of $600 each for 2 units multiplied by vacancy (continuing) to date
                                                                                                                                                                                                                                0.86                 94.47              $81,339                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                            Commercial      11/20/1991     6/??/2007                       5/2010       report by materials analytical services, inc.              3/17/2009         No              Yes             No                                //                                                                            //                               No                                                                                 115,200.00                           188,600.00
                                                                                                                                                                                                                                                                                                                                                                                                           6/9/15                                                                                                                           Suite 303                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        of 99 months = $115,200.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  21    Ex 10/79     Callihan, William and      6577 General Diaz      New Orleans   LA      70124   [III(A)], [XV],         9/16/2010   Yes      Yes          1800        Inspection Showing              Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           13, 20             I           ALTOBELLO JOHN III      Previous Owner, Did City or County Tax                12/19/2007            4/23/2012       Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                         3.14.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             0.00 Debt
                     Courtney                   Street                                               [XVI], [XVII]                                                        Floor Plan and Under                                                                                                                        OR EXCEEDS ASTM C1396                                        ALTOBELLO JOHN JR       Not Own Property on Records                                                                                                      338 Lafayette Street                                                                                                                                                                                                                                             No                                                                                                                     Learned through neighbor who used the same                                                                                                                                                                                                                 Completely                       US Restoration,
                                                                                                                                                                                                                                0.86                 94.47             $170,046                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential    11/16/2007     ??/??/2007         No           4/2010                                                                  7/9/2012          No                              No                                //                                        Foreclosure      $242,000        7/9/2012      Forgiveness                         8/2011                                21,908.00        8/2011           25,900            30,443.84
                                                                                                                                                                           Air Square Footage                                                                                                                         04 STANDARD" matches DIG                                                             6/9/15                                                                                                                           New Orleans, LA 70130                                                                                                                                                                                                                                         Inspection                                                                                                                                  builder.                                                                                                                                                                                                                                 remediated                            LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Tansaction
                                                                                                                                                                                                                                                                                                                      #3
  22    Ex 10/79     Caminita (Gray), Jennifer 42787 Snapper Way       Franklinton   LA      70438   [IX], [XIII],            5/5/2011   Yes      Yes          1465              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15                         I           KENNETH GUTIERREZ       Previous Owner, Did   City or County Tax               5/3/2007             8/3/2012        Wolfe Law Group                      Seth Smiley                      (504) 208-1124   seth@smileyfirm.com                                                                                                                                                                                                                    3.16.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                     [XV], [XVI],                                                                                                               0.79                 86.78             $127,133                                       OR EXCEEDS ASTM C1396-"                                      ET UX                   Not Own Property on   Records                                                                                                    365 Canal St Suite 1680                           sarah@wolfelaw.com                                                                                                                                                                           N/A                             No                             Residential     5/3/2007      ??/??/2007         No            2008                                                                       //                                            No                                //                                        Foreclosure                      8/4/2011                                                                                                                36,857.53
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                     [XVII]                                                                                                                                                                                                           matches DIG #3                                                                       6/9/15                                                                                                                           New Orleans, LA 70130                             ssmiley@wolfelaw.com
  23    RP           Catholic Charities         318 S. Gayoso Street   New Orleans   LA      70119   [IX], [XV],              5/5/2011   Yes      Yes          1083        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                 D           DABNEY JUAN             Previous Owner, Did   City or County Tax              12/1/1986             1/2/2014        Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                 5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely                          Lakewood
                     Archdiocese of New         (Wilma Holmes)                                       [XVI], [XVII]                                                                                                              0.86                 94.47             $102,311                                                                                                                            Not Own Property on   Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                             N/A                             No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                                //                                                                            //                                            1/12-5/12                             $53,227.00        5/2012        $27,343.00              n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                         Corporation
                     Orleans                                                                                                                                                                                                                                                                                                                                                                               6/9/15                                                                                                                           New Orleans, LA 70113
  24    RP           Catholic Charities         320 S. Gayoso Street   New Orleans   LA      70119   [IX], [XV],              5/5/2011   Yes      Yes          1083        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China"               27                 D           DABNEY JUAN             Previous Owner, Did   City or County Tax              12/1/1986             1/2/2014        Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                 5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely                          Lakewood
                     Archdiocese of New         (Wilma Holmes)                                       [XVI], [XVII]                                                                                                              0.86                 94.47             $102,311                                                                                                                            Not Own Property on   Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                             N/A                             No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                                //                                                                            //                                            1/12-5/12                             $59,310.00        5/2012                                n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                         Corporation
                     Orleans                                                                                                                                                                                                                                                                                                                                                                               6/9/15                                                                                                                           New Orleans, LA 70113
  25    RP           Catholic Charities         3936 Louisiana Avenue New Orleans    LA      70125   [IX], [XV],              5/5/2011   Yes      Yes          2043        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           ARMBRUSTER              Previous Owner,       Tax Records + Title/Deed        7/23/1998                             Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                 5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely                          Lakewood
                     Archdiocese of New         Parkway (Cynthia                                     [XVI], [XVII]                                                                                                              0.86                 94.47             $193,002                                       Gypsum Incorporated                                          CHARLES A               Unknown Purchase                                                                                                                 820 O'Keefe Avenue                                                                                                                                                                                                                             N/A                             No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                                //                                                                            //                                              7/12                                $27,421.00        7/2012        $63,702.00              n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                         Corporation
                     Orleans                    Dubose)                                                                                                                                                                                                                                                               Manufactured in P.R.C."                                                              Date                                                                                                                             New Orleans, LA 70113
  26    Ex 10/79 &   Catholic Charities         7531 Eastmore Road New Orleans       LA      70126   [XIII], [XV],            7/5/2011   Yes      Yes          2332      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                 D           SCOTT VALARIE M         Previous Owner, Did   City or County Tax                                    9/29/1997       Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                 5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely                          Lakewood
        Omni XX      Archdiocese of New                                                              [XVI], [XVII],                                                       Document with Square                                  0.86                 94.47             $220,304                                                                                                                            Not Own Property on   Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                             N/A                             No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                                //                                                                            //                                            9/12-3/13                             $92,233.00        3/2013        $25,390.00              n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                         Corporation
                     Orleans                                                                         [XX]                                                                        Footage                                                                                                                                                                                                                   6/9/15                                                                                                                           New Orleans, LA 70113
  27    Ex 10/79     Cheramie, Bertoul J. and   266 Carriage Pines     Covington     LA      70435   [II(B)], [III],         10/7/2009   Yes      Yes          1750               Other                    Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEE""         15                 I           CELINO, JOSEPH R JR     Previous Owner,       Tax Records + Title/Deed        1/22/2008               2015          Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                 4.23.18
                     Joan                                                                            [III(A)], [VII],                                                                                                                                                                                                 matches DIG #3                                               ETUX                    Unknown Purchase                                                                                                                 820 O'Keefe Avenue                                                                                                                                                                                                                                               No
                                                                                                                                                                                                                                0.79                 86.78             $151,865                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     1/22/2008       //2007           No            2009                                                                   5/21/2015         No              No              No                                //                                        Short Sale      $145000.00      5/21/2015       85000.00
                                                                                                     [XV], [XVI],                                                                                                                                                                                                                                                                                          Date                                                                                                                             New Orleans, LA 70113                                                                                                                                                                                                                                         Inspection
                                                                                                     [XVII]
  28    RP           Chetta, Rosary             1614 Charlton Drive    New Orleans   LA      70122   [VII], [XV],            1/14/2011   Yes      Yes          2551      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                      I           THOMAS LANCE            Previous Owner, Did City or County Tax                2/23/2007             7/10/2013       Gainsburgh Benjamin                  Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                  3.30.18                                                                                                                                                                                                                United States
                                                                                                     [XVI], [XVII]                                                       Plan and Square Footage                                                                                                                      OR EXCEEDS"" matches DIG                                                             Not Own Property on Records                                                                                                      2800 Energy Centre                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Bankruptcy                                                                                                                                                                                                              1200 moving
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                                0.86                 94.47             $240,993                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                                              4//2005       2//2006           No          11/2010                                                                      //            No              No              Yes       Court, Eastern       ??/??/??        11-11313       Closed        Foreclosure      unknown            //                                                                                                                 costs & 2100           290000          290000
                                                                                                                                                                                                                                                                                                                      #3                                                                                   6/9/15                                                                                                                           1100 Poydras Street                                                                                                                                                                                                                                           Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              District of                                                                                                                                                                                                           per month rent
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Louisiana
  29    Ex 10/79     Community Associates       4221 Elba Street       New Orleans   LA      70125   [IX], [XV],              5/5/2011   Yes      Yes          2976      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           FORBES AARON C          Previous Owner, Did   City or County Tax              11/20/2009            2/28/2011       The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                            3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                     (Jackie Pottinger)                                                              [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $281,143                                       Gypsum"                                                                              Not Own Property on   Records                                                                                                    701 Magazine St,                                                                                                                                                                                                                               N/A                             No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                 Footage                                                                                                                                                                                                                   6/9/15                                                                                                                           New Orleans LA 70130
  30    RP           Conrad, Ariane             2921 Monica Lane       Marrero       LA      70072   [III(A)], [VII],        9/16/2010   Yes      Yes          1797        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEE" and 21                      I           DESALVO,JAKE R III &    Previous Owner, Did   Tax Records + Title/Deed        11/22/2006            5/8/2013        Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                               3.15.18                                                                                        heard of other people in neighborhood having
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                     [XV], [XVI],                                                                                                               0.86                 94.47             $169,763                                       "OR EXCEEDS ASTM"                                            LAUREN L                Not Own Property on                                                                                                              425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                             No                             Residential    11/22/2006       //2006           No           7/2009         issues so had home inspected and found                       //                                            No                                //                                        Foreclosure      $181,744        5/8/2013                            No                                                                                  38,326.00           75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                     [XVII]                                                                                                                                                                                                           matches DIG #3                                                                       6/9/15                                                                                                                           LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                      Chinese Drywall.
        Ex 10/79 &   Cooper, Warren Jr.,       1812-14 Mazant Street New Orleans     LA      70128   [XV], [XVI],             7/5/2011   Yes      Yes          1293        Inspection Showing              Yes                                                                         Taihe           Photo          Taihe blue-aqua paper end tape 14                H           AUGUST NELSON E JR      Previous Owner, Did   City or County Tax              10/3/2007             9/14/2012       Carol A. Newman APLC                 Carol A. Newman, Esq.            (504) 861-0008   Carol@carolanewmanlawfirm.co                                                                                                                                                                                                           3.22.18                                                                                        The property was acquired by Estelle Watson
  31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Cooper and Warren V. Cooper, Sr. , the
        Omni XX      Independent Administrator                                                       [XVII]                                                               Floor Plan and Under                                                                                                                                                                                                             Not Own Property on   Records                                                                                                    813 S. Carrollton Ave.                            m
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     parents of the deceased claimant, Warren
                     of the Estate of Brenda                                                                                                                               Air Square Footage                                                                                                                                                                                                              6/9/15                                                                                                                           New Orleans, LA. 70118                                                                                                                                                                                                                                                                                                                                                                   Cooper, Jr. and his deceased sister, Brenda
                     Lorraine Cooper                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Hillard Butler
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Cooper , on January 8, 1971 (see copy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Co, Inc. and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Option 1 -                                                                                                                               uploaded deed ) and the claimant ,Warren V.                                                                                                                                                                                                                              April of 2006 to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Completely                     Interior /Exterior approximately                                                                           I was unable to download some of the supporting documents , so I have attached them to an email
                                                                                                                                                                                                                                0.86                 94.47             $122,150                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Moss             100%        3/31/2014                         Residential     10/3/2007      1/1/2006          No          11/2009      Cooper, Jr. and Brenda Cooper inherited the                 9/14/2012         No              No              No                                //                                                                            //                                         October of 2006                                            1/2012            .00                 .00             .00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               remediated                     /Building Supply    $81,000.00                                                                                    today to BrownGreer, PLC. I you have any questions, please call me at 504-861-0008.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Remediation                                                                                                                               property from their deceased parents ( see                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (Drywall
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Judgment of Possession uploaded previously).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  company)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Warren Cooper, Jr inherited his deceased
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   sister, Brenda Cooper's interest when she died
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (see Judgment of Possession uploaded
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     previously)
  32    Ex 10/79     Craik, Diane               5910 Memphis Street New Orleans      LA      70124   [II(B)], [VII],         12/6/2010   Yes      Yes          3542              Other                     Yes                                                                         Crescent City   Affidavit of                                 N/A                D           AKERS MICHAEL J         Previous Owner, Did City or County Tax                12/14/2006            7/21/2011       Lemmon Law Firm                      Andrew Lemmon, Esq.            985-783-6789       andrew@lemmonlawfirm.com                                                                                                                                                                                                               3.14.18
                                                                                                     [XV], [XVI],                                                                                                                                                                                      Andrew                                                                      AKERS LAURA C           Not Own Property on Records                                                                                                      PO Box 904 (mailing address)                                                                                                                                                                                                                                     No                                                                                                                      Presence of Chinese Drywall was found by a                                                                                                                                                                                                                Completely                        Burk Property                                                                                             All information provided and documents uploaded for Advantage Acquisitions, LLC (Claimant #
                                                                                                                                                                                                                                0.86                 94.47             $334,613                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     12/8/2006      12//2006          No           6/2010                                                                  7/14/2011         No              No                                                //                                                                            //                                         November 2011                             50,000.00       11/2010                             30,800.00       100,000.00
                                                                                                     [XVII]                                                                                                                                                                                            Lemmon                                                                                              6/9/15                                                                                                                           15058 River Road                                                                                                                                                                                                                                              Inspection                                                                                                                         private inspection company                                                                                                                                                                                                                        remediated                       Investment Inc.                                                                                                       104634) apply to Mrs. Craik's claim as well as this is the same property.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Hahnville, LA 70057
  33    Ex 10/79     Cresson, Robert, Sr.       67337 Salt Lick Lane Lacombe         LA      70445   [III(A)], [VII],        9/16/2010   Yes      Yes          1152              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          20                  I           TIMOTHY RYAN BODE       Previous Owner, Did Tax Records + Title/Deed          7/27/1966               2014          Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq. (985) 536-1186     schristina@becnellaw.com                                                                                                                                                                                                               3.12.18                                                                                        Property was repaired after Katrina. Chinese
                                                                                                     [XV], [XVI],                                                                                                                                                                                                     OR EXCEEDS ASTM C1396                                                                Not Own Property on                                                                                                              425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                      No                                                                                                                     Drywall was used to make the repairs. Heard                                                                                                                                                                                                                  Partially                      Healthy Homes                                                                                            Claimant lost a bond for deed contract over the home having Chinese Drywall. The contract would
                                                                                                                                                                                                                                0.79                 86.78              $99,971                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential      7//1966        //2006           No           8/2009                                                                      //                                            No                                //                                                                            //                                            May 2011                                3375.00                                            70,709.15
                                                                                                     [XVII]                                                                                                                                                                                                           04 STANDARD" matches DIG                                                             6/9/15                                                                                                                           LaPlace, LA 70064                                                                                                                                                                                                                                             Inspection                                                                                                               reports of Chinese Drywall damaging homes so                                                                                                                                                                                                                remediated                       Solutions and                                                                                                                               have paid him $70,709.15.
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I had the house inspected.
  34    RP           Crowe, Nicholas and        5824 Memphis Street New Orleans      LA      70124   [IX], [XV],              5/5/2011   Yes      Yes          1844              Other                     Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           KUBA JENNIFER L         Previous Owner, Did Tax Records + Title/Deed           7/1/2008             9/30/2011       Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                   3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                    Inspection performed in March 2011 confirmed                                                                                                                                                                                                                Completely      April 2011-                             Approx.
                     Jennifer                                                                        [XVI], [XVII]                                                                                                              0.86                 94.47             $174,203                                       Gypsum Incorporated"                                                                 Not Own Property on                                                                                                              701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                             No                             Residential     7/1/2008       3/1/2008          No           3/2011                                                                  9/30/2011         No              Yes             No                                //                                                                            //                                                        Self Contractor                             9/2011                             75,000.00                                                  Remediation documents to be uploaded.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                      the presence of Chinese drywall.                                                                                                                                                                                                                     remediated    September 2011                           $50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                           6/9/15                                                                                                                           New Orleans, LA 70145
  35    RP           Davis, Alvin               4721 Majorie Lane      New Orleans   LA      70122   [XIII], [XV],            7/5/2011   Yes      Yes          1602        Inspection Showing              Yes                                                                         Taihe           Photo          "MADE IN CHINA"               17                 I           BRUNIOUS RITA           Previous Owner, Did City or County Tax                7/29/1999             2/10/2015       Bruno & Bruno, LLP                   Joseph Bruno, Esq.             (504) 525-1355     jbruno@brunobrunolaw.com                                                                                                                                                                                                               3.21.18                                                                                                                                                                                                                United States
                                                                                                     [XVI], [XVII]                                                        Floor Plan and Under                                                                                                                                                                                                             Not Own Property on Records                                                                                                      855 Baronne Street                                                                                                                                                                                                                                                                                                                                                                     Property was inspected in May 2011 and it was                                                                             Bankruptcy                                                                      106,361.65 w/
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                                0.86                 94.47             $151,341                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     7/29/1999     5/15/2007          No           5/2011     confirmed that the property contained Chinese                    //                                            Yes       Court, Eastern      3/10/2016        16-10522       Pending       Foreclosure     5% interest     2/10/2015                            No                                                                                  17,180.00          200,000.00
                                                                                                                                                                           Air Square Footage                                                                                                                                                                                                              6/9/15                                                                                                                           New Orleans, 70113                                                                                                                                                                                                                                            Inspection                                                                                                                                  drywall.                                                                                                District of                                                                     from 3/1/13
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Louisiana
  36    Ex 10/79     Davis, Lolita              4821 Piety Drive       New Orleans   LA      70126   [III(A)], [VII],        9/16/2010   Yes      Yes          1350      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China"               27                 D           HAMPTON SHEMEKIA        Previous Owner, Did City or County Tax                8/16/1995             5/31/2012       Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                               3.5.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Starting having issues with house, electronics,
                                                                                                     [XV], [XVI],                                                         Document with Square                                                                                                                                                                                     T                       Not Own Property on Records                                                                                                  Becnel Law Firm, LLC                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                0.86                 94.47             $127,535                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     8/16/1995      6//2007           No           5/2009     AC, and a bad odor. Saw report on news about                 5/31/2012         No              Yes             No                                //                                                                            //                               No                                                                                                      90,000.00
                                                                                                     [XVII]                                                                      Footage                                                                                                                                                                                                                   6/9/15                                                                                                                       425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                       Inspection                                                                                                                  Chinese Drywall and had house inspected.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
  37    Ex 10/79     de Leon, James and         3013 Bradbury Drive    Meraux        LA      70075   [II(A)], [XV],          9/16/2010   Yes      Yes          1812      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                  D           WARREN, EUPHORIA        Previous Owner, Did City or County Tax                11/2/2009             8/15/2011       Parker Waichman                  Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                                   3.2.18
                     Melinda                                                                         [XVI], [XVII]                                                        Document with Square                                                                                                                        Incorporated Manufactured in                                 LA'SHINDA 1/2           Not Own Property on Records                                                                                                  27300 Riverview Center Blvd                                                                                                                                                                                                                                          No
                                                                                                                                                                                                                                0.86                 94.47             $171,180                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential    10/19/2007     4/16/2007          No          12/2009                                                                  3/9/2012          No              Yes             No                                //                                        Short Sale       $129,000       8/11/2005        40,300              No                                                                                      0                51,269           88,700
                                                                                                                                                                                 Footage                                                                                                                              P.R.C."                                                      WILLIAMS, NATONYA       6/9/15                                                                                                                       Bonita Springs, FL 34134                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                                                                                                                                                                                                                   AGNES 1/2
  38    Ex 10/79     DeLeon, Gordon and         1209 East Avide Street Chalmette     LA      70043   [II], [XV],             3/15/2010   Yes      Yes          2496      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           WILLIAMS, CHARLES,      Previous Owner, Did City or County Tax                                      1/4/2011        Parker Waichman                      Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                                   3.9.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                     Donna                                                                           [XVI], [XVII]                                                       Plan and Square Footage                                0.86                 94.47             $235,797                                       Gypsum Incorporated                                          LIVING TRUST            Not Own Property on Records                                                                                                      27300 Riverview Center Blvd                                                                                                                                                                                                                    N/A                             No                             Residential    12/15/2006     5/??/2007          No           8/2009                                                         No      12/29/2010         No              Yes             No                                //                                                                            //                               No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                                                                                                                                                      Manufactured in P.R.C."                                                              6/9/15                                                                                                                           Bonita Springs, FL 34134
  39    RP           Desmore, Judy and Barry 115 West Celestine        Chalmette     LA      70043   [III], [VII],           10/7/2009   Yes      Yes          1286      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          19, 20              I           LANDRY, DANIELLE        Previous Owner, Did City or County Tax                 5/8/1980            12/18/2014       Gainsburgh Benjamin                  Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                  3.30.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 August,                                                                                                                We had to move our 30 ft camper down there to stay and work on home. We were away from home
                                                                                                     [XV], [XVI],                                                         Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                Not Own Property on Records                                                                                                      2800 Energy Centre                                                                                                                                                                                                                                               No                                                                                                                                                                                                                                                                                                                                                                                Completely                           David's
                                                                                                                                                                                                                                0.86                 94.47             $121,488                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential        //             //                                                                                         Yes     12/16/2014         No              Yes             No                                //                                                                            //                                           September,                               15,954                                                                           weeks at a time. Our tenants moved out due to Chinese sheet wall. Loss of rent $50,000, gasoline
                                                                                                     [XVII]                                                                      Footage                                                                                                                              04 STANDARD" matches DIG                                                             6/9/15                                                                                                                           1100 Poydras Street                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                         Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              October 2013                                                                                                                                          used to transport camper there 53 miles.
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                    New Orleans, LA 70163
  40    RP           Domingue, Craig and Lesa 205 Thistledown Court Pearl River      LA      70452   [III], [VII],           10/7/2009   Yes      Yes          2786      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          17                  I           MASSARINI, ADAM W       Previous Owner, Did Tax Records + Title/Deed          3/17/2003               2011          Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                               3.12.18                                                                                       Repaired home after Katrina and used Chinese
                                                                                                     [XV], [XVI],                                                        Plan and Square Footage                                                                                                                      OR EXC" matches DIG #3                                       ETUX                    Not Own Property on                                                                                                              425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                      No                                                                                                                    Drywall as that time. Saw on news reports of
                                                                                                                                                                                                                                0.79                 86.78             $241,769                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential      5//2006       3//2007           No           3/2009                                                                      //                                            No                                //                                        Foreclosure     $225,434.39     3/16/2011                            No                                                                                  13836.44            75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  drywall damaging homes and had mine
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                6/9/15                                                                                                                           LaPlace, LA 70064
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      inspected.
  41    Ex 10/79     Dowell, Darren and Kim     421 Lavoisier Street   Gretna        LA      70053   [III], [VII],           10/7/2009   Yes      Yes          2315      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET            17                I           FAITH FRIEDMAN          Previous Owner,       Tax Records + Title/Deed          2008                                Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com
                                                                                                     [XV], [XVI],                                                        Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396                                                                Unknown Purchase                                                                                                                 338 Lafayette Street                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                                0.86                 94.47             $218,698                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No
                                                                                                     [XVII]                                                                                                                                                                                                           04 STANDARD" matches DIG                                                             Date                                                                                                                             New Orleans, LA 70130                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                      #3
  42    Ex 10/79     Duvernay, Victor           5115 Chamberlin StreetNew Orleans    LA      70122   [IX], [XV],              5/5/2011   Yes      Yes          1374      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET            20                I           GREGOIRE KRISTIE        Previous Owner, Did City or County Tax                11/14/2007            6/19/2014       Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                     [XVI], [XVII]                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                        LEBEAU                  Not Own Property on Records                                                                                                      Young Law Firm                                                                                                                                                                                                                                                   No
                                                                                                                                                                                                                                0.86                 94.47             $129,802                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No
                                                                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                                             6/9/15                                                                                                                           1010 Common St., Suite 3040                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                    New Orleans, LA 70112
  43    Ex 10/79     Eide, Stale and Anne       1201 Magnolia Alley    Mandeville    LA      70471   [II(B)], [VII],         12/6/2010   Yes      Yes          2016        Builder's Floor Plan            Yes                                                                         Taihe           Photo          Taihe blue-aqua paper end tape 14                H           HALLAL, BRETT           Previous Owner, Did   Tax Records + Title/Deed        5/11/2007            12/27/2011       The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                            3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                     [XV], [XVI],                                                                                                               0.79                 86.78             $174,948                                                                                                    ANDREW                  Not Own Property on                                                                                                              701 Magazine St,                                                                                                                                                                                                                               N/A                             No                                                //             //             No                                                                                       //
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                6/9/15                                                                                                                           New Orleans LA 70130
  44    Ex 10/79     Encalade, Letitia and      5520 Ricket Drive      New Orleans   LA      70126   [III(A)], [VII],        9/16/2010   Yes      Yes          1649      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA MEETS OR               18                 I           TRAN RICKY              Previous Owner, Did   City or County Tax              2/21/2007                             Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                               5.29.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                     Thorne, Dontroy                                                                 [XV], [XVI],                                                         Document with Square                                  0.86                 94.47             $155,781                                       EXCEEDS"                                                                             Not Own Property on   Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                             No                             Residential      3//2007       5//2006           No                                                                                       //                                                                              //                                                                            //
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                     [XVII]                                                                      Footage                                                                                                                                                                                                                   6/9/15                                                                                                                           LaPlace, LA 70064
  45    RP           Flanagan, Robert           4501 Olive Drive       Meraux        LA      70075   [XV], [XVI],             7/5/2011   Yes      Yes          1600      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "In China Crescent"           27                 D           CIVELLO, BARBARA        Previous Owner, Did   City or County Tax               3/1/2011            12/12/2014       Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                 3.23.18
                                                                                                     [XVII]                                                               Document with Square                                                                                                                                                                                     MOLERO                  Not Own Property on   Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                       No                                                                                                                        WAYNE SCHLOSSER, SR., A RESIDENT,                                                                                                                                                                                                                       Completely       10/2012 -       local contractor -
                                                                                                                                                                                                                                0.86                 94.47             $151,152                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     6/20/2000     4/??/2007          No           5/2012                                                                 12/10/2014         No              No              No                                //                                                                            //                                                                                   80,739.00       12/2012          1986.52           130,000.00                                               loss of use-65 months x $2000 = $130,000.00
                                                                                                                                                                                 Footage                                                                                                                                                                                                                   6/9/15                                                                                                                           Suite 303                                                                                                                                                                                                                                                     Inspection                                                                                                                       DISCOVERED THE DRYWALL                                                                                                                                                                                                                              remediated        12/2012          ramon lopez
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  46    Ex 10/79     Fluence, Joseph            2716 Veronica Drive    Chalmette     LA      70043   [II], [IX], [XV],       3/15/2010   Yes      Yes          1784      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."      27                 D           HUYNH, LINH &           Previous Owner, Did   City or County Tax              3/12/2007             4/7/2014        Parker Waichman                      Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                                   5.23.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                     [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $168,534                                                                                                    QUACH, LOI              Not Own Property on   Records                                                                                                    27300 Riverview Center Blvd                                                                                                                                                                                                                    N/A                             No                             Residential     3/7/2007      ??/??/2006         No          ??/2009                                                                   //2009                                         Yes; No                             //                                                                            //                               No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                 Footage                                                                                                                                                                                                                   6/9/15                                                                                                                           Bonita Springs, FL 34134
  47    RP           Frazier, Debra             10231 Castlewood       New Orleans   LA      70127   [II], [VII], [XV],      3/15/2010   Yes      Yes          1346      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent"      27                 D           AMBROSE EMILE A JR      Previous Owner, Did   City or County Tax              2/23/2000             5/10/2011       Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                                                                                                                             I noticed the electricity was malfunctioning
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                                Property has                                                          See attached
                                                Drive                                                [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $127,157                                                                                                    AMBROSE MARY A          Not Own Property on   Records                                                                                                    4265 San Felipe, Suite 1000                                                                                                                                                                                                                    N/A                             No                             Residential    ??/??/2001     1/15/2009          No           9/2009         frequently and I also noticed a sour smell      No      ??/??/2011        Yes              Yes             No                                //                                                                            //             N/A               No                                 N/A.                N/A            ??/??                                N/A             N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                                         been torn down.                                                            items.
                                                                                                                                                                                 Footage                                                                                                                                                                                                                   6/9/15                                                                                                                           Houston, TX 77027                                                                                                                                                                                                                                                                                                                                                                        similar to rotten eggs throughout the house.
  48    RP           Fulton, David and Marjorie3370 Montgomery         Mandeville    LA      70448   [IX], [XV],              5/5/2011   Yes      Yes          1154      Property Tax Assessor's           Yes                                                                         Chinese        Photo           "Manufactured to Conform to 37                   C           PENN, LESLIE ANN        Previous Owner,       Tax Records + Title/Deed        6/27/2002                             Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                               Street                                                [XVI], [XVII]                                                        Document with Square                                  0.79                 86.78             $100,144        Manufacturer 2                 ASTM C36"                                                                            Unknown Purchase                                                                                                                 900 W. Morgan Street                                                                                                                                                                                                                           N/A                             No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                 Footage                                                                                                                                                                                                                   Date                                                                                                                             Raleigh, NC 27603
  49    RP           Galmiche, Stephen and      3516 Jacob Drive       Chalmette     LA      70043   [III], [VII],           10/7/2009   Yes      Yes          1854      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET   20                         I           LE, PENNY               Previous Owner, Did   City or County Tax              3/24/2008             6/25/2010       Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                            4.4.18                                                                                                                                                                                                                 United States
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Unknown,
                     Tiffany                                                                         [XV], [XVI],                                                         Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                Not Own Property on   Records                                                                                                    4265 San Felipe, Suite 1000                                                                                                                                                                                                                                                                                                                                                                When I became ill while residing on the                                                                               Bankruptcy                                                                                                                                      N/A, claimant no N/A, claimant no
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                                                                      property was                                       193,000.00, loss
                                                                                                                                                                                                                                0.86                 94.47             $175,147                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     4/14/2008     ??/??/2007         No           9/2009      property. Lifted up insulation in the attic and    No       5/25/2010         No              No              Yes       Court Eastern       6/14/2010           1         Discharged      Foreclosure     $190,421.79     6/25/2010          N/A               No          longer owns      longer owns                              ??/??         14,481.00                              N/A
                                                                                                     [XVII]                                                                      Footage                                                                                                                              04" matches DIG #3                                                                   6/9/15                                                                                                                           Houston, TX 77027                                                                                                                                                                                                                                             Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                   sold after                                          of home.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   discovered drywall was manufactured in China.                                                                              District of                                                                                                                                        property.        property.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      foreclosure.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Louisiana
  50    Add. Taishan Gammage, Dr. Daniel        1210 Magnolia Alley    Mandeville    LA      70471   [II(C)], [VII],         1/14/2011   Yes      Yes          1743              Other                     Yes                                                                         Taihe           Photo                                                           I           BROWN, BEMJAMIN O       Previous Owner, Did   Tax Records + Title/Deed        1/30/2008             5/16/2011       The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                            3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Completely
        Prop.                                                                                        [XV], [XVI],                                                                                                               0.79                 86.78             $151,258                                                                                                    ETUX                    Not Own Property on                                                                                                              701 Magazine St,                                                                                                                                                                                                                               N/A              30%            No                             Residential     2/1/2009        //2008           No           3/2009                                                                  5/19/2011         No              Yes             No                                //                                        Short Sale                      5/16/2011       110000.00                                                                                                                    65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               remediated
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                6/9/15                                                                                                                           New Orleans LA 70130
  51    RP           Gonzales, Huey, Jr. and    3009 Acorn Drive       Violet        LA      70092   [II(B)], [III],         10/7/2009   Yes      Yes          1968      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "IN CHINA MEET OR"            20                 I           TRAN, DIEM T. LEE       Previous Owner,       City or County Tax               9/2/2009                             Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                 5.9.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                     Nguyen, Cathy Mai Thi                                                           [IX], [XV],                                                          Document with Square                                  0.86                 94.47             $185,917                                       matches DIG #3                                                                       Unknown Purchase      Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                             N/A                             No                             Residential      6//2007        ??//??           No          12/2009                                                                  4/11/2016                                         No                                //                                                                            //
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                     [XVI], [XVII]                                                               Footage                                                                                                                                                                                                                   Date                                                                                                                             New Orleans, LA 70113
  52    RP           Grant, Marcus and Jevon 4559 Knight Drive         New Orleans   LA      70127   [III], [VII],           10/7/2009   Yes      Yes          1700      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13, 17                   I           NGUYEN KIM HOA          Previous Owner, Did   City or County Tax                                    1/8/2014        The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                            3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                    The Chinese Drywall was discovered when the
                                                                                                     [XV], [XVI],                                                         Document with Square                                  0.86                 94.47             $160,599                                       DIG #3                                                                               Not Own Property on   Records                                                                                                    701 Magazine St,                                                                                                                                                                                                                               N/A                             No                             Residential     7/1/2004       4/1/2006          No           1/2007                                                                  7/1/2009          No              No              No                                //                                        Foreclosure                         //                               No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                            A/C unit went out.
                                                                                                     [XVII]                                                                      Footage                                                                                                                                                                                                                   6/9/15                                                                                                                           New Orleans LA 70130
  53    Ex 10/79     Gundorf, Hazel Mae         4316 Toulouse Street   New Orleans   LA      70119   [II], [IX], [XV],       3/15/2010   Yes      Yes           815      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           GUNDORF JOHN F III      Previous Owner, Did   City or County Tax                                   12/14/2012       Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                 3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      other damages:
                                                                                                     [XVI], [XVII]                                                        Document with Square                                                                                                                        Gypsum"                                                                              Not Own Property on   Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                                Completely       11/2005 -
                                                                                                                                                                                                                                0.86                 94.47              $76,993                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     10/3/1962     10/??/2005         No           1/2010        report by materials analytic services, inc.              12/14/2012         No              No              No                                //                                                                            //                                                                  self            100,000.00        6/2007         20,400.00           48,000.00                                             ALE: 24 mos. rent x $850.00 per mo. = $20,400.00
                                                                                                                                                                                 Footage                                                                                                                                                                                                                   6/9/15                                                                                                                           Suite 303                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated        6/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Loss of use48,000.00: 2 mos. x $2000.00 = $48,000.00
  54    Ex 10/79     Hagstette, Barrett         5557 Rosemary Pl.      New Orleans   LA      70124   [XIII], [XV],            7/5/2011   Yes      Yes          1011      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 17, 18                   I           SCHNADELBACH       Previous Owner, Did        City or County Tax              12/21/2007            11/8/2013       Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                         3.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                        It was not installed after I acquired the                                                                                                                                                                                                               Completely       8/2011 -           Self and                                            593 storage,
                                                                                                     [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47              $95,509                                       DIG #3                                                       BONNIE A           Not Own Property on        Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                           N/A                             No                                            12/21/2007     ??/??/2007         No           8/2006                                                                 11/25/2013         No              No              No                                //                                                                            //                                                                                   7,316.00         1/2012                              50,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                  property.                                                                                                                                                                                                                                remediated       12/2011         Superior Drywall                                    lied with parents
                                                                                                                                                                                 Footage                                                                                                                                                                                                              6/9/15                                                                                                                                New Orleans, LA 70130
  55    RP           Haindel, Mary              1224 Magnolia Alley    Mandeville    LA      70471   [III], [VII],           10/7/2009   Yes      Yes          1663      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15, 21                     I           TOURNET, LLOYD R   Previous Owner, Did        Tax Records + Title/Deed        6/22/2007            12/20/2010       Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                               3.16.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                     AC problems multiple times and finally repair                                                                                                                                                                                                                                                                                                                                                       Had to pay for multiple AC repairs prior to short sale. SPent $7035.15 on AC repairs since buying the
                                                                                                     [XV], [XVI],                                                         Document with Square                                  0.79                 86.78             $144,315                                       OR EXCEEDS" matches DIG                                                         Not Own Property on                                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                             No                             Residential     6/22/2007      1/1/2007          No           3/2009                                                                  12/6/2010         No              Yes             No                                //                                        Short Sale      $118,150.00     12/20/2010      110000.00            No                                                                                  65,854.63           50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                    informed me I had Chinese Drywall.                                                                                                                                                                                                                                                                                                                                                                                                              home.
                                                                                                     [XVII]                                                                      Footage                                                                                                                              #3                                                                              6/9/15                                                                                                                                LaPlace, LA 70064
  56    RP           Hall, Tommie L.            4618 Charlmark Drive New Orleans     LA      70127   [XV], [XVI],             7/5/2011   Yes      Yes          2318      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           DURONCELAY JEFFREY Previous Owner, Did        Tax Records + Title/Deed         8/9/2011             3/14/2013       Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                               3.8.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               After I inherited the home from my mom, I attempted to sell the house and had an agreement to
                                                                                                     [XVII]                                                               Document with Square                                                                                                                        Gypsum Incorporated"                                         M                  Not Own Property on                                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                                                                                                                                             This was my mom's house. She repaired the                                                                                                                                                                                                                                                                                                                                                                 purchase for $165,000. During inspections Chinese Drywall was found and the sale was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                      home after Katrina and Chinese drywall was                                                                                                                                                                                                                                                                                                                                                         discontinued. I was unable to sell the house thereafter. Eventually, I sold the home for $75,000.00.
                                                                                                                                                                                 Footage                                        0.86                 94.47             $218,981                                                                                                    DURONCELAY TAMMY 6/9/15                                                                                                                                  LaPlace, LA 70064                                                                                                                                                                                                                              N/A                             No                             Residential     12/3/1992       //2008           No           4/2012                                                                  3/14/2013         No              No              No                                //                                                                        3/14/2013       75000.00                                                                                                                     25,000.00       90,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                installed. When she passed away, I inherited                                                                                                                                                                                                                                                                                                                                                                          My loss is the difference in the sales prices which was $90,000.00.
                                                                                                                                                                                                                                                                                                                                                                                   C                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 the house.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I have already filed all documents concerning the lost sale and subsequent sale with Brown Greer
  57    Ex 10/79     Harding, Matthew and       4444 Park Shore Drive Marrero        LA      70072   [III], [VII],           10/7/2009   Yes      Yes          1821      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15, 18, 21                 I           GASSENBERGER,DAVID Previous Owner, Did Tax Records + Title/Deed               5/20/2006             6/30/2014       Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                         3.21.18
                     Kristin                                                                         [XV], [XVI],                                                         Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                       L                  Not Own Property on                                                                                                                   338 Lafayette Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely
                                                                                                                                                                                                                                0.86                 94.47             $172,030                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                                             3/20/2007      1/6/2007          No           5/2009                                                                  6/30/2014         No              No              No                                //                                                                            //                                           11/10/2010             Self             63,586.28        4/2014          2047.75             25,000
                                                                                                     [XVII]                                                                      Footage                                                                                                                              04 STANDARD" matches DIG                                                        6/9/15                                                                                                                                New Orleans, LA 70130                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                                                                                                                                                      #3
  58    Ex 10/79     Harvey, Lawrence and       3217 Upperline Street New Orleans    LA      70118   [VII], [XV],            1/14/2011   Yes      Yes          1336      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                          I           CANE VENTURES, LLC Previous Owner, Did City or County Tax                      3/9/2005             8/21/2013       Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                               3.18.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Property was inspected in March 2010 and it
                     Patricia                                                                        [XVI], [XVII]                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                           Not Own Property on Records                                                                                                           855 Baronne Street                                                                                                                                                                                                                                               No
                                                                                                                                                                                                                                0.86                 94.47             $126,212                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     3/9/2005       8//2006           No           3/2010       was confirmed that the property contained                      //                                            No                                //                                        Foreclosure     $148,000.00     8/21/2013                            No                                                                                  37,000.00          175,000.00
                                                                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                                        6/9/15                                                                                                                                New Orleans, 70113                                                                                                                                                                                                                                            Inspection                                                                                                                             Chinese drywall.
                                                                                                                                                                                                                                                                                                                      #3
  59    Ex 10/79     Howerton, Jason and        2140 North Lexington Terrytown       LA      70056   [VII], [XV],            1/14/2011   Yes      Yes          2300      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                          I           TAHA,KARIM              Previous Owner,                                                                             Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                         3.21.18                                                                                        After Katrina repairs were made we noticed a
                     Marie                      Avenue                                               [XVI], [XVII]                                                        Document with Square                                                                                                                        OR EXCEEDS" matches DIG                                                              Unknown Purchase                                                                                                                 338 Lafayette Street                                                                                                                                                                                                                                                                                                                                                                   strong smell in the house. We also found pitting
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                    on new fixtures and faucets. We began having                                                                                                                              Settled. Order                                                                                                                                                          4,200 storage
                                                                                                                                                                                 Footage                                        0.86                 94.47             $217,281                                       #3                                                                                   Date                                                                                                                             New Orleans, LA 70130                                                                                                                                                                                                                          N/A                             No                                             7/29/2006     1/??/2008          No            ??/??                                                                  7/18/2013                                         Yes         USBC EDLA          6/9/2012        12-10865                                                         //                               No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                    problems with the air conditioning. We                                                                                                                                 Approved                                                                                                                                                                  fees
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      examined the drywall and found that it was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                manufactured in China.
  60    Ex 10/79     Hudson & Hudson           7160 Northgate Drive New Orleans      LA      70128   [XV], [XVI],             7/5/2011   Yes      Yes          1548      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           20                 I           JAMES JOHNSON AND       Previous Owner, Did City or County Tax                10/14/2008            4/2/2013        Morgan & Morgan                      Pete Albanis, Esq.               (239) 433-6880   PAlbanis@ForThePeople.com                                                                                                                                                                                                              4.19.18                                                                                         I purchased the drywall from Bayou Building
                     Investments, LLC (Derrick                                                       [XVII]                                                               Document with Square                                                                                                                        OR EXCEEDS"                                                  ASSOCIATES LLC          Not Own Property on Records                                                                                                      12800 University Drive, Suite                                                                                                                                                                                                                                                                                                                                                           Supply Company and installed the drywall into
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                       both of my properties. It became apparent                                                                             Eastern District                                                                                               Auctioned off for
                     and La’Toya Hudson)                                                                                                                                         Footage                                        0.86                 94.47             $146,240                                                                                                                            6/9/15                                                                                                                           600                                                                                                                                                                                                                                            N/A                             No                             Residential     7/17/2007      7/2/2008          No           7/2008                                                                  3/7/2013                                          Yes                            5/6/2014                     Discharged      Foreclosure     $80,000.00          //                               No                                                                                     NA              350,000.00          TBD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                 shortly after installation that something was                                                                           of Louisiana                                                                                                    $73,333.34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       wrong with the drywall causing corrosive
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              damage to the properties.
  61    RP           Indovina, Leon             8721 Livington AvenueChalmette       LA      70043   [III], [VII],           10/7/2009   Yes      Yes          1931      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET     17, 20                   I           HOLLOWAY, JOHNNY        Previous Owner, Did City or County Tax                7/11/2011             1/26/2015       Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                               3.9.18                                                                                        HVAC MALFUNCTION AND THE TECH INFORMED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SEPTEMBER
                                                                                                     [XV], [XVI],                                                         Document with Square                                                                                                                        OR EXCEEDS" matches DIG                                      WAYNE                   Not Own Property on Records                                                                                                      425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                      No                                                                                                                          ME OF POSSIBLE CHINESE DRYWALL                                                                                                                                                                                                                        Completely
                                                                                                                                                                                                                                0.86                 94.47             $182,422                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                             No                             Residential     6/1/2006       3/2/2007          No           6/2009                                                         No       2/26/2015         No              Yes             No                                //                                                                            //                                           2009-APRIL            SELF              73,200.00        4/2011         7,500.00            75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  CONTAMINATION. CONFIRMED THROUGH                                                                                                                                                                                                                         remediated
                                                                                                     [XVII]                                                                      Footage                                                                                                                              #3                                                                                   6/9/15                                                                                                                           LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      INSPECTION
  62    RP           Ingram, Charlie E.         2425 Veronica Street   Chalmette     LA      70443   [XIII], [XV],            7/5/2011   Yes      Yes          1458      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                      I           BRAQUET, ROSE AIOLA Previous Owner, Did       City or County Tax              9/13/2011            10/18/2012       Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                       3.12.18                                                                                       Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                           October 2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely                                            49,394.00 plus
                                                                                                     [XVI], [XVII]                                                        Document with Square                                  0.79                 86.78             $126,525                                       OR EXCEEDS ASTM"                                                                  Not Own Property on      Records                                                                                                    724 East Boston Street                                                                                                                                                                                                                         N/A                             No                             Residential     8/30/2011     1/10/2010          No           9/2011         of copper surfaces and Failure of various               10/15/2012         No              No              No                                //                                                                            //                                         thru September           Self                              9/2012                            200,000.00                      Even though it only cost $49,394.00, I did the labor myself which amount to at least $40,000.00.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                                                labor
                                                                                                                                                                                 Footage                                                                                                                              matches DIG #3                                                                    6/9/15                                                                                                                              Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                  electrical appliances                                                                                                                                                                                                                                            2012
  63    Ex 10/79     Ingram, Richard L. and     2400 Veronica Drive    Chalmette     LA      70043   [IX], [XV],              5/5/2011   Yes      Yes          2093      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                         I           WESTCOTT, JESSICA L. Previous Owner, Did      City or County Tax              10/5/1998             10/2/2012       Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                 6.9.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                     Sylvia A.                                                                       [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $197,726                                       OR EXCEEDS ASTM"                                             & WESTCOTT,          Not Own Property on      Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                             N/A                             No                             Residential      //1996         //2007                         2010                                                          No           //                                            No                                //                                        Foreclosure      $80000.00        //2009                                                                                                                  2000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                 Footage                                                                                                                              matches DIG #3                                               CHRISTIAN, JR.       6/9/15                                                                                                                              New Orleans, LA 70113
  64    Ex 10/79     Isichei, Obi               104 Covington          Covington     LA      70433   [XV], [XVI],             7/5/2011   Yes      Yes           878      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA," and     18                      I           BLUEWATER REAL       Previous Owner, Did      Tax Records + Title/Deed        2/27/2009               2014          Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                                       I have had to live in this property containing Chinese Drywall and have suffered the side effects of
                                                Meadows Cl., Unit L                                  [XVII]                                                               Document with Square                                                                                                                        "EXCEEDS ASTM C1396-04                                       ESTATE INVESTORS     Not Own Property on                                                                                                                 724 East Boston Street
                                                                                                                                                                                                                                0.79                 86.78              $76,193                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A               0%            No                             Residential     2/27/2009     1/10/2007          No           3/2011        of copper surfaces and Failure of various                ??/??/2014         No              No              No                                //                                                                            //                               No                                                                                                     300,000.00       200,000.00   same. I have no money to fix, the value of my property has substantially decreased and I cannot sell
                                                                                                                                                                                 Footage                                                                                                                              STANDARD" matches DIG #3                                     LLC                  6/9/15                                                                                                                              Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                 electrical appliances                                                                                                                                                                                                                                                                                                                                                                                                       because of the Chinese Drywall.

  65    Ex 10/79     Jericho Road Episcopal     2852 Dryades Street    New Orleans   LA      70115   [IX], [XV],              5/5/2011   Yes      Yes          1500      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent"      27                 D           LINENBERG DANIELE  Previous Owner, Did        City or County Tax              11/3/2007            11/30/2007       Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                   3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                       Inspection performed September 20, 2010                                                                                                                                                                                                                  Completely    December 2010-       Contractor:
                     Housing Initiative, LLC                                                         [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $141,705                                                                                                                       Not Own Property on        Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                             No                             Residential     1/31/2007      8/1/2007          No           9/2010                                                                  2/31/2008         No              Yes             No                                //                                                                            //                                                                                   53,844.00        5/2011         7,684.02           100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                 confirmed the presence of Chinese drywall.                                                                                                                                                                                                                remediated       May 2011          Humble HIG
                                                                                                                                                                                 Footage                                                                                                                                                                                                              6/9/15                                                                                                                                New Orleans, LA 70159
  66    Ex 10/79     Jericho Road Episcopal     3010 Dryades Street    New Orleans   LA      70115   [XV], [XVI],             7/5/2011   Yes      Yes          1400      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent"      27                 D           TAYLOR RACHELLE A Previous Owner, Did         City or County Tax              11/30/2007            2/27/2008       Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                   3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                        Inspection performed in October 2010                                                                                                                                                                                                                    Completely    December 2010-
                     Housing Initiative, LLC                                                         [XVII]                                                               Document with Square                                  0.86                 94.47             $132,258                                                                                                                       Not Own Property on        Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                             No                             Residential     4/3/2007      10/1/2007          No          10/2010                                                                  2/27/2008         No              Yes             No                                //                                                                            //                                                              Humble HIG           60,589.04        6/2011         12,396.38          250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                 confirmed the presence of Chinese drywall.                                                                                                                                                                                                                remediated     May/June 2011
                                                                                                                                                                                 Footage                                                                                                                                                                                                              6/9/15                                                                                                                                New Orleans, LA 70160
  67    Ex 10/79     Jericho Road Episcopal     3014 Dryades Street    New Orleans   LA      70115   [XV], [XVI],             7/5/2011   Yes      Yes          1500      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent"      27                 D           FRANKLIN JOHNNIE R Previous Owner, Did        City or County Tax              11/30/2007            4/14/2008       Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                   3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                       Inspection performed in November 2010                                                                                                                                                                                                                    Completely    December 2010-
                     Housing Initiative, LLC                                                         [XVII]                                                               Document with Square                                  0.86                 94.47             $141,705                                                                                                    WASHINGTON         Not Own Property on        Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                             No                             Residential    10/31/2007     10/1/2007          No          11/2010                                                                  9/17/2008         No              Yes             No                                //                                                                            //                                                              Humble HIG           60,089.27        6/2011         11,686.14          250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                 confirmed the presence of Chinese drywall                                                                                                                                                                                                                 remediated     May/June 2011
                                                                                                                                                                                 Footage                                                                                                                                                                                           RONALD A JR        6/9/15                                                                                                                                New Orleans, LA 70161
  68    Ex 10/79     Jericho Road Episcopal     3211 Dryades Street    New Orleans   LA      70115   [
                     Housing Initiative, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                          Case 2:09-md-02047-EEF-MBN Document 21527-3 F ed 07/16/18 Page 2 of 4

Claimant Source     Claimant Name            Affected Property       City           State   Zip     Omni(s)             Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings   Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per   Purchase Date Per   Sell Date if Applicable Counsel                         Counsel Address                Counsel Phone    Counsel Email                                                        Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Amount Owed
Identifier                                   Address                                                                     Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                  Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer             BrownGreer       or Current Owner Per                                                                                                                                                       Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                             Who Performed
                                                                                                                                                                                                                                             2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                          Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                      Court                                                                           on        Date of                       Partially or                                                       Date        Alternative
                                                                                                                             Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                    Catalog                              BrownGreer           BrownGreer                                                           BrownGreer                                                                                                                    Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                              Foreclosure or                              Short Sale Price                   Dates of           Work to     Total Cost for                                Loss of Use  Diminution of
                                                                                                                                                                                                                                             [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                               Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy   Bankruptcy   Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                       Remediation     Living                                                                           SPPF Comments/ Notes
                                                                                                                                                                                                                            Factor                                                                                                                                                                                                                                                                                                                                                                           Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                              Short Sale?                                 (if applicable)                  Remediation        Remediate     Remediation                                 and Enjoyment    Value
                                                                                                                                                                                                                                                                     [SF x B]                                                                                                                                                                                                                                                                                                                                            Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                    Filed In                                                                    at time of    Short Sale                    Remediated?                                                        Complete     Expenses
                                                                                                                                                                                                                             [A]                                                                                                                                                                                                                                                                                                                                                                                                                    Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                                Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (GBI)                                                              (PRALE)
  79    Ex 10/79    Moses, Bryant and Brenda 1312-14 Coffin AvenueNew Orleans       LA      70117   [II(C)], [III],       10/7/2009   Yes      Yes          1728      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made In China"            29                 D           BAUER SARAH B           Previous Owner, Did City or County Tax             6/27/2002            10/31/2013       Whitfield, Bryson & Mason         Dan Bryson, Esq.               919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                    3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          No
                                                                                                    [XV], [XVI],                                                       Document with Square                                  0.86                 94.47             $163,244                                                                                                                         Not Own Property on Records                                                                                                900 W. Morgan Street                                                                                                                                                                                                                     N/A                            No                             Residential     4/5/2002      ??/??/2007                                         Inspection done on 6/10/2009                        10/31/2013         No              No              No                          //                                        Foreclosure     $56,000.00      10/31/2013                        No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Inspection
                                                                                                    [XVII]                                                                    Footage                                                                                                                                                                                                                6/9/15                                                                                                                     Raleigh, NC 27603
  80    RP & Omni   Mullet, III, Edwin A.-   2008 E. Sylvia Blvd.    St. Bernard    LA      70085   [III], [VII],         10/7/2009   Yes      Yes          3264      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                   I           FISHER, CHARLES         Previous Owner, Did Tax Records + Title/Deed      11/22/1989             4/17/2012       Willis & Buckley                  William Buckley, Esq.          (504) 488-6301   bill@willisbuckley.com                                                                                                                                                                                                            3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Since multiple Claimant ID's were listed on behalf of the same Claimants, including Claimant 105109
        XX          Trust Fund                                                                      [XV], [XVI],                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                     ROBERT, III             Not Own Property on                                                                                                        3723 Canal Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             and Claimant 100177, this Supplemental PPF is submitted in support of any and all applicable claims
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             of Debra Mullet, Edwin A Mullet, and the Edwin A. Mullet III Trust Fund.
                                                                                                    [XVII], [XX]                                                              Footage                                                                                                                              04 STANDARD" matches DIG                                                          6/9/15                                                                                                                     New Orleans, LA 70119                                                                                                                                                                                                                                     No                                                                                                                      Chinese drywall was discovered during the
                                                                                                                                                                                                                             0.86                 94.47             $308,350                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential    11/22/1989     1/??/2006          No           8/2009                                                                  4/17/2012         No              Yes             No                          //                                                                            //                            No                                                                           20,000         50,000        275,000
                                                                                                                                                                                                                                                                                                                   #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Inspection                                                                                                                   property inspection in August of 2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Claimant has submitted herewith several additional supporting documents, in addition to all previously
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               submitted supporting documents, which included Document ID's 344741, 175667, 175600, 175468,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      65860, and 62881.
  81    Ex 10/79    Mundy, Terry and Pamela 2529 Paul Drive          Meraux         LA      70075   [II], [IX], [XV],     3/15/2010   Yes      Yes          2154      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "China Crescent"           27                 D           MESHELL, SHANE M.       Previous Owner, Did   City or County Tax           1/3/2008              1/29/2010       Parker Waichman                    Jerrold Parker, Esq.          (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                              3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          No
                                                                                                    [XVI], [XVII]                                                      Document with Square                                  0.86                 94.47             $203,488                                                                                                                         Not Own Property on   Records                                                                                               27300 Riverview Center Blvd                                                                                                                                                                                                             N/A                            No                             Residential    12/27/2006     ??/??/2006         No          11/2009                                                                  1/19/2010         No              Yes             No                          //                                                                            //                            No                                                                         14,027.46      110,714.96    100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Inspection
                                                                                                                                                                              Footage                                                                                                                                                                                                                6/9/15                                                                                                                      Bonita Springs, FL 34134
  82    Ex 10/79    Mundy, Terry and Pamela 436 Llama Drive          Arabi          LA      70032   [XV], [XVI],           7/5/2011   Yes      Yes          2035      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."   27                 D           SPEARS, NICOLE          Previous Owner, Did   City or County Tax          12/27/2006            12/11/2014       Parker Waichman                    Jerrold Parker, Esq.          (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                              3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          No
                                                                                                    [XVII]                                                             Document with Square                                  0.86                 94.47             $192,246                                                                                                 SEANDRIA                Not Own Property on   Records                                                                                               27300 Riverview Center Blvd                                                                                                                                                                                                             N/A                            No                             Residential    12/27/2006     ??/??/2006         No          11/2009                                                                  1/14/2014         No              Yes             No                          //                                                                            //                            No                                                                         14,027.46      110,714.96      100,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Inspection
                                                                                                                                                                              Footage                                                                                                                                                                                                                6/9/15                                                                                                                      Bonita Springs, FL 34134
  83    RP          Niswonger, Mary M.       77451 N. Fitzmorris     Covington      LA      70435   [II(B)], [III],       10/7/2009   Yes      Yes          1349      Property Tax Assessor's           Yes                                                                         Taihe           Photo                                     14, 15             H, I        PIKE, BLAKE A           Previous Owner, Did   City or County Tax           7/15/2005            12/29/2014       Thornhill Law Firm, Fayard &       Tom Thornhill, Esq.           800-989-2707     tom@thornhilllawfirm.com                                                                                                                                                                                                          3.19.18                                                                                         Claimant learned that Chinese drywall was in                                                                                                                                                                                                                                                                                                                                  A Homeowner Disclosure Affidavit consistent with PTO 26 and the Knauf settlement was previously
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Approximately
                                             Road Ext.                                              [XV], [XVI],                                                       Document with Square                                                                                                                                                                                                          Not Own Property on   Records                                                            Honeycutt APLC and N. Frank Elliot Thornhill Law Firm                                                                                                                                                                                                                                                                                                                                                                  the house following an electrical/HVAC                                                                                                                                                                                                                                           Brian Tudela                                                                                  uploaded with the relevant documents. Loss of enjoyment is estimated at $100,000.00. The
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely     June 10, 2014 to
                                                                                                                                                                                                                             0.79                 86.78             $117,066                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     7/15/2005     10/15/2006         No           8/2009      inspection revealed its presence. The Chinese   No         12/29/2014         No              No              No                          //                                                                            //                                                             (general      47,635.83      12/2014       4,953.49      100,000.00     47,635.83      diminution value is at least equal to the costs of remediation. This number may also be the costs of
                                                                                                    [XVII]                                                                    Footage                                                                                                                                                                                                                6/9/15                                                                                   III, LLC                           1308 9th St                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated      December 24,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  drywall was confirmed by I/E representatives                                                                                                                                                                                                                                         contractor)                                                                              remediation assigned by the Court or another number to be determined in the future. All rights are
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Slidell, LA 70458                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   on 9/4/09.                                                                                                                                                                                                                                                                                                                                                                                      reserved to amend this section.
  84    Ex 10/79    NOAHH (New Orleans       1229 Port Street        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1128      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           SACKEYFIO JENNIFER      Previous Owner, Did City or County Tax             6/21/2010            10/24/2011       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  N                       Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                             0.86                 94.47             $106,562                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     6/21/2010       //2007           No           8/2010                                                                 10/24/2011         No              Yes             No                          //                                                                            //                                       11/2010-3/2011 HumbleHG, LLC        $41,051.08      3/2011        $0.00                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        as supporting materials for each remediated property.
  85    Ex 10/79    NOAHH (New Orleans       1315 Ferry Place        New Orleans    LA      70118   [IX], [XV],            5/5/2011   Yes      Yes          1068      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           FOLEY KASHANDA C        Previous Owner, Did City or County Tax             8/16/2010             8/25/2011       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Parker
                                                                                                                                                                                                                             0.86                 94.47             $100,894                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     8/16/2010       //2008           No           9/2010                                                                  8/25/2011         No              Yes             No                          //                                                                            //                                         11/10-2/11                        $44,754.35      2/2011        $0.00                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  86    RP          NOAHH (New Orleans       1316 Ferry Place        New Orleans    LA      70118   [IX], [XV],            5/5/2011   Yes      Yes          1135      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           CAMP LINDA T            Previous Owner, Did Tax Records + Title/Deed       2/12/2008             8/21/2009       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on                                                                                                        820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Parker
                                                                                                                                                                                                                             0.86                 94.47             $107,223                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential    11/18/2010       //2009          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                          2/11-5/11                        $44,448.85     05/2011      $7,647.41                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  87    RP          NOAHH (New Orleans       1320 Ferry Place        New Orleans    LA      70118   [IX], [XV],            5/5/2011   Yes      Yes          1130      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           ALEXANDER MINNIE M Previous Owner, Did City or County Tax                 10/10/2007            11/16/2009       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                     Not Own Property on Records                                                                                                     820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                           6/9/15                                                                                                                          New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Parker
                                                                                                                                                                                                                             0.86                 94.47             $106,751                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/21/2010       //2008          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                         11/10-1/11                        $44,815.87      1/2011      $7,474.82                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  88    RP          NOAHH (New Orleans       1324 Ferry Place        New Orleans    LA      70118   [IX], [XV],            5/5/2011   Yes      Yes          1130      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           KING MERCEDES E         Previous Owner, Did City or County Tax             6/22/2007             1/14/2009       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Parker
                                                                                                                                                                                                                             0.86                 94.47             $106,751                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     4/7/2011        //2008          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                          5/11-7/11                        $71,744.95     07/2011      $7,066.93                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  89    RP          NOAHH (New Orleans       1327 Ferry Place        New Orleans    LA      70118   [IX], [XV],            5/5/2011   Yes      Yes          1320      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           STERLING MARIO A        Previous Owner, Did City or County Tax             11/7/2008             3/26/2010       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Parker
                                                                                                                                                                                                                             0.86                 94.47             $124,700                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential    12/10/2010       //2009          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                          1/11-5/11                        $44,713.94     05/2011      $4,492.73                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  90    RP          NOAHH (New Orleans       1328 Ferry Place        New Orleans    LA      70118   [IX], [XV],            5/5/2011   Yes      Yes          1130      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WILLIAMS ROBYN L        Previous Owner, Did City or County Tax             6/22/2007             3/2/2009        Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Parker
                                                                                                                                                                                                                             0.86                 94.47             $106,751                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/21/2010       //2008          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                         11/10-2/11                        $44,322.52      2/2011      $7,969.88                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  91    RP          NOAHH (New Orleans       1331 Ferry Place        New Orleans    LA      70118   [IX], [XV],            5/5/2011   Yes      Yes          1214      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           SLY JENIKA J            Previous Owner, Did City or County Tax             6/22/2007            11/19/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                             0.86                 94.47             $114,687                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/10/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011      Construction,   $45,164.32      1/2011      $8,493.30                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  92    RP          NOAHH (New Orleans       1335 Ferry Place        New Orleans    LA      70118   [IX], [XV],            5/5/2011   Yes      Yes          1162      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           HORNE WOODIE            Previous Owner, Did City or County Tax             6/22/2007            11/21/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  HORNE CAROLYN           Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Parker
                                                                                                                                                                                                                             0.86                 94.47             $109,774                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/21/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                         11/10-1/11                        $45,700.39      1/2011      $7,076.07                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  93    RP          NOAHH (New Orleans       1437 Nunez Street       New Orleans    LA      70114   [IX], [XV],            5/5/2011   Yes      Yes          1022      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WILSON AUDREY E         Previous Owner, Did City or County Tax             7/7/2006              4/1/2008        Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  BLAZIO                  Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                             0.86                 94.47              $96,548                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     10/8/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       12/2010-4/2011      Construction,   $44,267.01      4/2011      $6,435.98                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  94    RP          NOAHH (New Orleans       146 Mimosa Lane         Port Sulphur   LA      70083   [XIII], [XV],          7/5/2011   Yes      Yes          1042      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           FITTE, AVIS M           Previous Owner, Did Tax Records + Title/Deed       1/19/2007             2/22/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         (Avis Fitte)                                           [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on                                                                                                        820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $98,438                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     6/24/2011       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                         7/11-12/11                        $47,929.23     12/2011      $6,978.29                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  95    RP          NOAHH (New Orleans       1701 Bartholomew        New Orleans    LA      70117   [XIII], [XV],          7/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           JOHNSON JOSEPH JR       Previous Owner, Did City or County Tax             4/11/2006            10/30/2007       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street (Joseph Johnson,                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)          Jr.)                                                                                                                             Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     7/6/2011        //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                         8/11-12/11                        $44,482.63     12/2011      $7,570.75                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  96    RP          NOAHH (New Orleans       1705 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1056      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           STOOPS LARRY R          Previous Owner, Did City or County Tax             4/11/2006             8/31/2007       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $99,760                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential    10/27/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                         9/11-12/11                        $49,288.20     12/2011      $7,758.18                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  97    RP          NOAHH (New Orleans       1709 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           INGMIRE GEORGE          Previous Owner, Did City or County Tax             4/11/2006            10/28/2007       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  ALLEN III               Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/7/2010        //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                                                           $44,838.79     12/2010      $7,748.87                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  98    RP          NOAHH (New Orleans       1713 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1092      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           FRANKLIN NATHANIEL Previous Owner, Did City or County Tax                  4/11/2006             8/30/2007       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                     Not Own Property on Records                                                                                                     820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                           6/9/15                                                                                                                          New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $103,161                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/10/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       11/2010-1-2011                      $44,502.62      1/2011      $18,143.76                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  99    RP          NOAHH (New Orleans       1717 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           GROWE ALFRED 3          Previous Owner, Did City or County Tax             4/11/2006             8/31/2007       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential    11/15/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       2/2011-4/2011                       $43,394.80      4/2011      $10,166.26                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  100   RP          NOAHH (New Orleans       1722 Alvar Street       New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1150      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WALTER KENYA D          Previous Owner, Did City or County Tax             1/23/2007             2/29/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $108,641                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     11/4/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       11/2010-2/2011                      $43,445.72      2/2011      $8,590.31                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  101   RP          NOAHH (New Orleans       1725 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1092      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           SHAVERS TIFFANY         Previous Owner, Did City or County Tax             4/11/2006             8/31/2007       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  ROSS                    Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $103,161                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential    12/15/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       4/2011-7/2011                       $46,122.96      7/2011      $11,990.41                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  102   RP          NOAHH (New Orleans       1737 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes           990      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           HAYDEL JEREMY P         Previous Owner, Did City or County Tax             4/11/2006             6/29/2007       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $93,525                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     12/6/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                        2/2011-52011                       $42,802.67      5/2011      $8,075.21                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  103   Ex 10/79    NOAHH (New Orleans       1800 Feliciana Street   New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1100      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BATISTE TERRELL E       Previous Owner, Did City or County Tax             7/18/2007             2/24/2014       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $103,917                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential      //2008         //2008                                              1/8/2011-Testing Results                          2/24/2014         No              Yes             No                          //                                                                            //                                       2/2011-6/2011                       $45,988.02      6/2011        $37.18                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  104   RP          NOAHH (New Orleans       1801 Lesseps Street     New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes           990      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           TAYLOR GERALDINE F Previous Owner, Did City or County Tax                  8/6/2007              4/9/2009        Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                     Not Own Property on Records                                                                                                     820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                           6/9/15                                                                                                                          New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely        11/2010-           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $93,525                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/20/2010       //2008          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                                                           $46,934.17     12/2010      $8,389.99                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  105   RP          NOAHH (New Orleans       1804 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1213      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           MCDONALD THOMAS         Previous Owner, Did City or County Tax             9/13/2007             9/26/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  CONNELLY                Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           lakewood
                                                                                                                                                                                                                             0.86                 94.47             $114,592                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/23/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       11/2010-2/2011                      $41,396.56      2/2011      $4,143.71                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  106   RP          NOAHH (New Orleans       1808 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1150      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           DETTMER ANNA LIESE Previous Owner, Did City or County Tax                  9/13/2007             9/29/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                     Not Own Property on Records                                                                                                     820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                           6/9/15                                                                                                                          New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $108,641                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     12/6/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011                      $44,026.62      1/2011      $6,210.40                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  107   Ex 10/79    NOAHH (New Orleans       1812 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1135      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           LAMBERTSON NATHAN Previous Owner, Did City or County Tax                   2/28/2011             5/10/2012       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  K                 Not Own Property on Records                                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                          6/9/15                                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $107,223                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     2/28/2011       //2007          Yes                                                                       Yes         5/9/2012          No              Yes             No                          //                                                                            //                                       4/2011-6/2011                       $42,490.98      6/2011        $43.62                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  108   RP          NOAHH (New Orleans       1816 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1213      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           VELASCO GABRIEL D.      Previous Owner, Did City or County Tax             4/16/2008             9/30/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $114,592                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/3/2010        //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                                                           $45,378.68     12/2010      $5,670.31                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  109   RP          NOAHH (New Orleans       1817 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1150      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           SEBASTIAN JAMES R       Previous Owner, Did City or County Tax             11/2/2006             2/2/2009        Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $108,641                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     3/3/2011        //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       3/2011-5/2011                       $45,760.59      5/2011      $11,051.54                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  110   RP          NOAHH (New Orleans       1819 Feliciana Street   New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1025      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           MC GOWAN NICOLE         Previous Owner, Did City or County Tax             7/25/2007            10/31/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $96,832                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     1/7/2011        //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       6/2011-8/2011                       $44,422.74      8/2011      $8,787.36                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  111   RP          NOAHH (New Orleans       1820 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           FRANCINO JENNIFER L Previous Owner, Did City or County Tax                 4/11/2006             11/2/2006       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                      Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                            6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/9/2010        //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       10/2010-3/2011                      $46,883.66      3/2011      $10,810.07                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  112   RP          NOAHH (New Orleans       1821 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1150      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           CHUTE THOMAS            Previous Owner, Did City or County Tax             11/2/2006             1/28/2009       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $108,641                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/9/2010        //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       11/2010-2/2011                      $44,229.10      2/2011      $10,889.49                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  113   RP          NOAHH (New Orleans       1824 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1150      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           AMON BENJAMIN           Previous Owner, Did City or County Tax             4/11/2006            11/18/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $108,641                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/15/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                       10/2010-1/2011                      $46,158.94      1/2011      $9,385.71                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  114   RP          NOAHH (New Orleans       1824 Congress Street    New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           LABEAUD ANASTASIA Previous Owner, Did City or County Tax                  12/28/2011             8/30/2013       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for                                                                [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  K                 Not Own Property on Records                                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                          6/9/15                                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential    12/28/2011       //2007                                                                                                8/30/2013         No              Yes             No                          //                                                                            //                                       11/2010-1/2011                      $44,713.80      1/2011      $9,388.54                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  115   RP          NOAHH (New Orleans       1825 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1213      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           GOODRICH FREDERICK Previous Owner, Did City or County Tax                  4/11/2006             10/4/2006       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  M                  Not Own Property on Records                                                                                                     820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                           6/9/15                                                                                                                          New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $114,592                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/27/2010       //2007                                                                                                    //                                            No                          //                                                                            //                                       11/2010-1/2011                      $48,162.79      1/2011      $9,545.88                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  116   RP          NOAHH (New Orleans       1828 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1135      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           HARVEY LAWRENCE E Previous Owner, Did City or County Tax                   11/2/2006             9/26/2008       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  HARVEY KIMBERLY W Not Own Property on Records                                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                          6/9/15                                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $107,223                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     9/13/2010       //2007          Yes                                                                       Yes             //            No              Yes             No                          //                                                                            //                                          10/2010                          $46,830.56      2/2011      $13,688.61                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  117   RP          NOAHH (New Orleans       1832 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes          1213      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BROWN LEON D            Previous Owner, Did City or County Tax             4/15/2011             3/7/2014        Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street                                                 [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  BROWN PAMELA P          Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $114,592                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential     4/15/2011       //2007          Yes                                                                                   3/7/2014          No              Yes             No                          //                                                                            //                                       1/2011-6/2011                       $42,355.25      6/2011      $8,921.87                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  118   Ex 10/79    NOAHH (New Orleans       1835 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes           702      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D            ELLIS MARSALIS         Previous Owner, Did City or County Tax             11/2/2006             7/16/2013       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                    Area Habitat for         Street - Dbl                                           [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  CENTER FOR MUSIC        Not Own Property on Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                        INC                     6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $66,318                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential      //2009         //2009                                              1/8/2011-Testing Results                          5/30/2013         No              Yes             No                          //                                                                            //                                       5/2011-11/2011                      $30,264.00     11/2011        $0.00                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  119   Ex 10/79    NOAHH (New Orleans       1837 Bartholomew        New Orleans    LA      70117   [IX], [XV],            5/5/2011   Yes      Yes           702      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           ELLIS MARSALIS          Previous Owner, Did City or County Tax             4/11/2006             7/16/2013       Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com
                    Area Habitat for         Street - Dbl                                           [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                  CENTER FOR MUSIC        Not Own Property on Records                                                                                                820 O'Keefe Avenue
                    Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                        INC                     6/9/15                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                             0.86                 94.47              $66,318                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N/A
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Claimant Source    Claimant Name        Affected Property       City          State   Zip     Omni(s)         Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings   Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per   Purchase Date Per   Sell Date if Applicable Counsel               Counsel Address         Counsel Phone    Counsel Email                                                      Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Amount Owed
Identifier                              Address                                                                Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                  Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer             BrownGreer       or Current Owner Per                                                                                                                                    Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                           Who Performed
                                                                                                                                                                                                                                   2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                       Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                      Court                                                                           on        Date of                       Partially or                                                     Date        Alternative
                                                                                                                   Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                    Catalog                              BrownGreer           BrownGreer                                                           BrownGreer                                                                                                 Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                              Foreclosure or                              Short Sale Price                   Dates of         Work to     Total Cost for                                Loss of Use  Diminution of
                                                                                                                                                                                                                                   [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                            Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy   Bankruptcy   Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                     Remediation     Living                                                                           SPPF Comments/ Notes
                                                                                                                                                                                                                  Factor                                                                                                                                                                                                                                                                                                                                                        Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                              Short Sale?                                 (if applicable)                  Remediation      Remediate     Remediation                                 and Enjoyment    Value
                                                                                                                                                                                                                                                           [SF x B]                                                                                                                                                                                                                                                                                                                         Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                    Filed In                                                                    at time of    Short Sale                    Remediated?                                                      Complete     Expenses
                                                                                                                                                                                                                   [A]                                                                                                                                                                                                                                                                                                                                                                                                 Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                              Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         (GBI)                                                              (PRALE)
  130   RP         NOAHH (New Orleans   1929 Independence       New Orleans   LA      70117   [XIII], [XV],      7/5/2011   Yes      Yes          1025      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           POLETE IMANI            Previous Owner, Did City or County Tax             7/3/2007             10/28/2008       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street (Imani Polete)                                 [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $96,832                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     6/8/2011        //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       10/2011-2/2012                    $45,123.69      2/2012      $10,344.24                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  131   RP         NOAHH (New Orleans   1931 France Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BROWN ANTIONETTA L Previous Owner, Did City or County Tax                  5/11/2007            10/28/2008       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                     Not Own Property on Records                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                           6/9/15                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/24/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                                                         $42,229.80     12/2010      $8,301.57                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  132   RP         NOAHH (New Orleans   1932 Bartholomew        New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes           959      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           FLETCHER RIK A          Previous Owner, Did City or County Tax             4/2/2007              2/19/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street                                                [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $90,597                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/7/2010        //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                         9/30/2010                       $46,695.57     11/2010      $4,491.36                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  133   RP         NOAHH (New Orleans   1933 Bartholomew        New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1135      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BAHAM ANDREW H III Previous Owner, Did City or County Tax                  4/2/2007              6/30/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street                                                [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                     Not Own Property on Records                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                           6/9/15                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47             $107,223                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/21/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       9/2010-12/2010                    $44,973.76     12/2010      $3,731.55                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  134   RP         NOAHH (New Orleans   1936 Bartholomew        New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes           959      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           JOHNSON CALVIN A JR Previous Owner, Did City or County Tax                 9/13/2007            11/19/2008       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street                                                [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                      Not Own Property on Records                                                                                          820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                            6/9/15                                                                                                               New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $90,597                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     11/7/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                                                         $43,954.01     12/2010      $4,995.47                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  135   RP         NOAHH (New Orleans   1937 Bartholomew        New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes           959      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                        N/A                D           CUMMINGS PATRICIA A Previous Owner, Did City or County Tax                 4/2/2007              3/11/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street                                                [XVI], [XVII]                                                  Document with Square                                                                                                         counsel                                                                  MORGAN LOUIS L JR   Not Own Property on Records                                                                                          820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                            6/9/15                                                                                                               New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $90,597                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     8/8/2010        //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011                    $43,517.64      1/2011      $10,352.47                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  136   Ex 10/79   NOAHH (New Orleans   1940 Bartholomew        New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           CLEMENTS JAN R          Previous Owner, Did City or County Tax             4/2/2007             12/29/2011       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street                                                [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential      //2007         //2007                                             1/8/2011-Testing Results                          12/29/2011         No              Yes             No                          //                                                                            //                                       2/2011-4/2011                     $42,343.77      4/2011        $21.29                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  137   RP         NOAHH (New Orleans   1941 Bartholomew        New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes           959      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                        N/A                D           JOHNSON ALVIN L SR      Previous Owner, Did City or County Tax             4/11/2006            12/30/2008       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street                                                [XVI], [XVII]                                                  Document with Square                                                                                                         counsel                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $90,597                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential    10/19/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011                    $43,055.10      1/2011      $6,851.03                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  138   RP         NOAHH (New Orleans   2100 Painters Street    New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1200      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BELL JUDY ANN           Previous Owner, Did City or County Tax             4/2/2008              1/20/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47             $113,364                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/28/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       12/2010-2/2011                    $42,701.63      2/2011      $9,747.40                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  139   RP         NOAHH (New Orleans   2113 Gina Drive         St. Bernard   LA      70085   [IX], [XV],        5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           JOHNSON, JANICE         Previous Owner, Did City or County Tax             2/16/2012             6/19/2013       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  MARIE                   Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Parker
                                                                                                                                                                                                                   0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     2/8/2012        //2008                                                                                                6/18/2013         No              Yes             No                          //                                                                            //                                       2/2011-8/2011                     $70,954.71      8/2011      $12,653.80                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  140   Ex 10/79   NOAHH (New Orleans   2113 Louisa Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Taihe/ Crescent Photo                                     17, 27             D, I        MARTIN CHAQUIDRA        Previous Owner, Did City or County Tax             8/6/2007              3/31/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                         City                                                                                                             Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     3/3/2011        //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       5/2011-7/2011                     $47,008.85      7/2011      $9,321.97                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  141   RP         NOAHH (New Orleans   2116 Bartholomew        New Orleans   LA      70117   [XIII], [XV],      7/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           DUBOSE SHAUNQUEL        Previous Owner, Did City or County Tax             11/1/2006            10/19/2007       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street (Shaunquel                                     [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  M                       Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)      Dubose)                                                                                                                     Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential    11/29/2011       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       2/2012-7/2012                     $44,423.30      7/2012      $14,471.50                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  142   RP         NOAHH (New Orleans   2116 Painters Street    New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           LEFLORE PEARL R         Previous Owner, Did City or County Tax             4/2/2008              1/21/2010       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     2/1/2011        //2009          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-6/2011                     $44,192.38      6/2011      $4,421.93                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  143   RP         NOAHH (New Orleans   2213 Piety Street       New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1081      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           DAVIS EBONI L           Previous Owner, Did City or County Tax             7/3/2007              3/2/2009        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47             $102,122                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/24/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011                    $41,192.80      1/2011      $9,895.48                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  144   RP         NOAHH (New Orleans   2217 Piety Street       New Orleans   LA      70117   [XIII], [XV],      7/5/2011   Yes      Yes          1044      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           MAY CONNITHA O          Previous Owner, Did City or County Tax             2/20/2008            12/28/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     (Connitha May)                                        [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $98,627                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     6/7/2011        //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       8/2011-10/2011                    $44,888.56     10/2011      $8,142.49                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  145   RP         NOAHH (New Orleans   2234 Feliciana Street   New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           CROSS DANA              Previous Owner, Did City or County Tax            10/26/2007             3/2/2009        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     1/24/2011       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-6/2011                     $42,578.90      6/2011      $6,932.08                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  146   RP         NOAHH (New Orleans   2344 Mazant Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1311      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           THOMAS LIONEL           Previous Owner, Did City or County Tax            12/17/2004             8/29/2007       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-         Lakewood
                                                                                                                                                                                                                   0.86                 94.47             $123,850                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/22/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                                                         $48,638.66     12/2010      $9,866.41                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  147   RP         NOAHH (New Orleans   2401 Independence       New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           SCALI PAUL T            Previous Owner, Did City or County Tax             5/18/2007             7/10/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street                                                [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential    10/13/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011                    $43,529.86      1/2011      $4,241.38                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  148   RP         NOAHH (New Orleans   2401 S. Tonti Street    New Orleans   LA      70125   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           COOPER YVONNE Y         Previous Owner, Did City or County Tax             8/27/2007             4/29/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential    12/13/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-7/2011     Construction,   $64,916.52      7/2011      $11,323.38                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  149   RP         NOAHH (New Orleans   2405 S. Tonti Street    New Orleans   LA      70125   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           PEDESCLEAUX             Previous Owner, Did City or County Tax             9/12/2007             6/29/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  EMELDA                  Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     10/8/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       5/2011-9/2011     Construction,   $40,586.78      9/2011      $9,771.88                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  150   RP         NOAHH (New Orleans   2409 S. Tonti Street    New Orleans   LA      70125   [XIII], [XV],      7/5/2011   Yes      Yes           932      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BERRY SHAWANDA          Previous Owner, Did City or County Tax             8/28/2007             6/29/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     (Shawanda Berry)                                      [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $88,046                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     5/24/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       6/2011-9/2011                     $48,901.77      9/2011      $9,804.84                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  151   RP         NOAHH (New Orleans   2414 Clouet Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WILLIAMS JACQUELINE Previous Owner, Did City or County Tax                 5/18/2007             1/14/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  M                   Not Own Property on Records                                                                                          820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                            6/9/15                                                                                                               New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     12/1/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       1/2011-5/2011                     $43,577.54      5/2011      $9,609.28                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  152   RP         NOAHH (New Orleans   2415 Piety Street       New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1078      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WATSON TIARA S          Previous Owner, Did City or County Tax             5/18/2007             3/31/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47             $101,839                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     10/1/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                          11/2010                        $44,228.47      1/2011      $7,543.31                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  153   RP         NOAHH (New Orleans   2422 Clouet Street      New Orleans   LA      70117   [XIII], [XV],      7/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           JONES KELVIN C          Previous Owner, Did City or County Tax             7/20/2007             1/19/2010       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     (Kelvin Jones)                                        [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
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  154   RP         NOAHH (New Orleans   2500 Desire Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1080      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WILKENS CYNTHIA         Previous Owner, Did City or County Tax            12/20/2006            12/17/2008       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47             $102,028                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/28/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-1-2011                    $30,325.48      1/2011      $9,269.97                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  155   Ex 10/79   NOAHH (New Orleans   2519 Feliciana Street   New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           COLLIER MICHAEL J       Previous Owner, Did City or County Tax            12/12/2006            10/26/2012       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential      //2007         //2007                                            1/18/2011-Testing Results                          10/26/2012         No              Yes             No                          //                                                                            //                                       4/2011-7/2011                     $44,736.67      7/2011       $440.94                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  156   RP         NOAHH (New Orleans   2521 S. Galvez Street New Orleans     LA      70125   [IX], [XV],        5/5/2011   Yes      Yes          1287      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           HUTTON KATHERINE        Previous Owner, Did City or County Tax             8/28/2007             3/27/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Parker
                                                                                                                                                                                                                   0.86                 94.47             $121,583                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     1/3/2011        //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                          3/2011                         $43,435.50      9/2011      $12,014.35                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  157   RP         NOAHH (New Orleans   2522 S Miro Street      New Orleans   LA      70125   [IX], [XV],        5/5/2011   Yes      Yes          1025      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           GOODJOINT EMMALINE Previous Owner, Did City or County Tax                  4/19/2007             4/9/2009        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                     Not Own Property on Records                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                           6/9/15                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                   0.86                 94.47              $96,832                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential    10/12/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-9/2011     Construction,   $47,011.50      9/2011      $12,931.39                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  158   Ex 10/79   NOAHH (New Orleans   2525 N Miro Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           CASBORN KIVA F          Previous Owner, Did City or County Tax            11/29/2007             9/23/2011       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential      //2009         //2009                        9/2010                                                                  9/23/2011         No              Yes             No                          //                                                                            //                                       10/2010-2/2011                    $43,650.58      2/2011        $21.04                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  159   RP         NOAHH (New Orleans   2537 Desire Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1020      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BROOMFIELD              Previous Owner, Did City or County Tax             10/6/2006             2/19/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  MICHELLE C              Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $96,359                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     10/1/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-2/2011                    $45,775.09      2/2011      $5,970.72                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  160   RP         NOAHH (New Orleans   2559 N Johnson Street New Orleans     LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BRIGHT KEVIN            Previous Owner, Did City or County Tax             1/19/1983             1/20/2010       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     10/1/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-3/2011                    $41,956.02      3/2011      $2,216.00                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  161   RP         NOAHH (New Orleans   2608 Gallier Street     New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           JENKINS WILLIE 111      Previous Owner, Did City or County Tax             8/8/2006              9/24/2007       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/22/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011                    $45,717.79      1/2011      $8,161.87                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  162   RP         NOAHH (New Orleans   2618 Piety Street       New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           STRAHAN JESSICA L       Previous Owner, Did City or County Tax             7/13/2007             3/30/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     2/21/2011       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       4/2011-7/2011                     $45,412.13      7/2011      $7,714.87                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  163   RP         NOAHH (New Orleans   2650 Piety Street       New Orleans   LA      70117   [XIII], [XV],      7/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WASHINGTON LARRY F Previous Owner, Did City or County Tax                  5/18/2007             3/26/2010       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                     Not Own Property on Records                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                           6/9/15                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     2/7/2012        //2009          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2012-7/2012                     $43,355.26      7/2012      $8,737.06                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  164   RP         NOAHH (New Orleans   3014 N Tonti Street     New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1232      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           GRAY TAKIVA S           Previous Owner, Did City or County Tax             3/29/2007             2/20/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47             $116,387                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     1/1/2011        //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-7/2011                     $48,284.79      7/2011      $8,185.18                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  165   RP         NOAHH (New Orleans   3127 3rd Street         New Orleans   LA      70125   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           MAPLES ANITA M          Previous Owner, Did City or County Tax             5/16/2007            11/16/2007       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                   0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/16/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-3/2011 HumbleHG, LLC      $43,553.29      3/2011      $12,809.81                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  166   RP         NOAHH (New Orleans   3235 Washington         New Orleans   LA      70125   [IX], [XV],        5/5/2011   Yes      Yes          1018      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           SMITH JACQUELINE        Previous Owner, Did City or County Tax             6/8/2007              2/29/2008       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Avenue                                                [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $96,170                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential    11/16/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       6/2011-9/2011                     $43,767.80      9/2011      $7,515.93                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  167   RP         NOAHH (New Orleans   3255 Law Street         New Orleans   LA      70117   [XIII], [XV],      7/5/2011   Yes      Yes          1049      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WILLIAMS GLORIA         Previous Owner, Did City or County Tax             11/1/2006             1/13/2009       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     (Gloria Williams)                                     [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  TATNEY                  Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                   0.86                 94.47              $99,099                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     1/3/2012        //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       1/2012-6/2012                     $55,300.18      6/2012      $6,832.69                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  168   RP         NOAHH (New Orleans   3300 Daniel Drive       Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           DUPLESSIS, CRYSTAL      Previous Owner, Did City or County Tax             4/18/2007            11/20/2008       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  GAIL HAZEL              Not Own Property on Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                  Footage                                                                                                                                                                                                                6/9/15                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                   0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential    10/12/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       12/2010-6/201     Construction,   $44,409.90      6/2011      $7,677.84                                   CDW. Additionally NOAHH has numerous boxes that co
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
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Claimant Source    Claimant Name             Affected Property     City           State   Zip     Omni(s)               Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings      Markings # from    Product       Current Owner as of    Ownership Status of   Proof of Ownership Per     Purchase Date Per   Sell Date if Applicable Counsel                           Counsel Address                  Counsel Phone    Counsel Email                                                           Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Amount Owed
Identifier                                   Address                                                                     Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                     Taishan Product ID Bucket(s)     May-August 2017 Per    Named Claimant Per         BrownGreer               BrownGreer       or Current Owner Per                                                                                                                                                              Banner, InEx                                                         Remediation                                                                                                                                                Aware property                                                                            Date Sold or                                                                                                                                                                                                                  Who Performed
                                                                                                                                                                                                                                             2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                       Already                                                                                                                  VA        Holdback                               Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                       Court                                                                                on        Date of                       Partially or                                                      Date        Alternative
                                                                                                                             Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                       Catalog                              BrownGreer            BrownGreer                                                             BrownGreer                                                                                                                           Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                       Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                                    Foreclosure or                              Short Sale Price                   Dates of          Work to     Total Cost for                                Loss of Use  Diminution of
                                                                                                                                                                                                                                             [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                            Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                    KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy    Bankruptcy        Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                      Remediation     Living                                                                           SPPF Comments/ Notes
                                                                                                                                                                                                                            Factor                                                                                                                                                                                                                                                                                                                                                                                        Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                           Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                                    Short Sale?                                 (if applicable)                  Remediation       Remediate     Remediation                                 and Enjoyment    Value
                                                                                                                                                                                                                                                                     [SF x B]                                                                                                                                                                                                                                                                                                                                                         Home (ARH)                                                                                                             Gross Award   Amount                                   KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                     Filed In                                                                         at time of    Short Sale                    Remediated?                                                       Complete     Expenses
                                                                                                                                                                                                                             [A]                                                                                                                                                                                                                                                                                                                                                                                                                                 Expenses                                                             Expenses                                                                                                                                                    purchase?                                                                                Applicable                                                                                                                                                                                                                     Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (GBI)                                                              (PRALE)
  179   RP         NOAHH (New Orleans        4021 N Galvez Street New Orleans     LA      70117   [IX], [XV],              5/5/2011   Yes      Yes          1092      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           BYRD SHIRLEY A           Previous Owner, Did City or County Tax              12/12/2006            10/29/2007       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                              Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely                          Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $103,161                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     1/10/2011       //2007          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     5/2011-7/2011                       $45,536.20     7/2011      $7,590.19                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  180   RP         NOAHH (New Orleans        4400 Ray Avenue       New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1234      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           RICHARDSON EBONEE Previous Owner, Did City or County Tax                      4/16/2008             8/5/2009        Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                     T                 Not Own Property on Records                                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                             6/9/15                                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely                          Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $116,576                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     1/10/2010       //2009          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     5/2011-8/2011                       $42,961.03     8/2011        $0.00                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  181   RP         NOAHH (New Orleans        4505 America Street   New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1156      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           STEWART                  Previous Owner, Did City or County Tax                                     3/5/2008        Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                     WELLINGTON Q             Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                             0.86                 94.47             $109,207                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     9/21/2010       //2007          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     11/2010-3/2011 HumbleHG, LLC        $41,955.97     3/2011      $6,116.04                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  182   RP         NOAHH (New Orleans        4559 America Street   New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1109      Property Tax Assessor's           Yes                                                                         Taihe           Photo                                        14, 17             H, I        BLACKMAN STANLEY         Previous Owner, Did City or County Tax                                    11/19/2007       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                     SR                       Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                             0.86                 94.47             $104,767                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential    10/28/2010       //2006          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     2/2011-7/2011     HumbleHG, LLC     $41,781.71     7/2011      $12,123.38                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  183   RP         NOAHH (New Orleans        4621 Dale Street      New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes           912      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           ROBINSON                 Previous Owner, Did City or County Tax               9/6/2007             11/14/2008       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                     ANTOINETTE               Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                             0.86                 94.47              $86,157                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     10/5/2010       //2008          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     12/2010-5/2011 HumbleHG, LLC        $41,234.58     5/2011      $9,874.43                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  184   RP         NOAHH (New Orleans        4745 Wilson Avenue    New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           TAYLOR LUCRETIA          Previous Owner, Did City or County Tax              12/30/2007             6/30/2008       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                              Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                             0.86                 94.47              $98,249                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     12/2/2010       //2008          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     4/2011-8/2011     HumbleHG, LLC     $40,980.71     8/2011      $11,971.65                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  185   RP         NOAHH (New Orleans        4809 Reynes Street    New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           FRANCOIS ROSE            Previous Owner, Did City or County Tax               5/30/2008             8/19/2009       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                              Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
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  186   RP         NOAHH (New Orleans        4819 Reynes Street    New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           GALLOWAY CRYSTAL Previous Owner, Did City or County Tax                       9/22/2008             7/15/2009       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                      Not Own Property on Records                                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                            6/9/15                                                                                                                                 New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                             0.86                 94.47              $98,249                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     9/22/2010       //2009          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     11/2010-3/2011 HumbleHG, LLC        $41,264.80     3/2011      $10,068.13                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  187   RP         NOAHH (New Orleans        4820 America Street   New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1042      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           TRAHAN DIONNE T          Previous Owner, Did City or County Tax               9/13/2007            11/30/2009       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                              Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                             0.86                 94.47              $98,438                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     10/6/2010       //2009          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     2/2011-7/2011     HumbleHG, LLC     $31,239.72     7/2011      $11,190.57                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  188   RP         NOAHH (New Orleans        4840 Camelia Street New Orleans      LA      70126   [XIII], [XV],            7/5/2011   Yes      Yes          1080      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           DUPLESSIS                Previous Owner, Did City or County Tax               9/6/2007              1/7/2010        Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for          (Quentella Duplessis)                                [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                     QUENTELLA S              Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely                          Lakewood
                                                                                                                                                                                                                             0.86                 94.47             $102,028                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     8/9/2011        //2009          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     9/2011-1/2012                       $44,855.38     1/2012      $4,759.54                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                         Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           as supporting materials for each remediated property.
  189   RP         NOAHH (New Orleans        4904 Dale Street      New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes           990      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           FORTHNER NATASHA T Previous Owner, Did City or County Tax                                           8/17/2007       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                        Not Own Property on Records                                                                                                          820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                              6/9/15                                                                                                                               New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                             0.86                 94.47              $93,525                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential    12/17/2010       //2007          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     4/2011-11/2011 HumbleHG, LLC        $31,034.80    11/2011      $8,438.42                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           as supporting materials for each remediated property.
  190   RP         NOAHH (New Orleans        4926 Tulip Street     New Orleans    LA      70126   [XIII], [XV],            7/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           KING SCHNIKA M           Previous Owner, Did City or County Tax               9/22/2008             9/4/2009        Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for          (Schnika King)                                       [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                              Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely                          Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $98,249                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     5/11/2011       //2009          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     7/2011-10/2011                      $45,869.50    10/2011      $7,271.26                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                         Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           as supporting materials for each remediated property.
  191   RP         NOAHH (New Orleans        4929 Dodt Avenue      New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1084      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           LINDSAY TULA P           Previous Owner, Did City or County Tax               2/13/2009             6/21/2010       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                               [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                              Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                             0.86                 94.47             $102,405                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     11/3/2010       //2009          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     12/2010-4/2011 HumbleHG, LLC        $42,426.73     4/2011      $8,411.81                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           as supporting materials for each remediated property.
  192   RP         NOAHH (New Orleans        8739 Plum Street      New Orleans    LA      70118   [XIII], [XV],            7/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           RAPHELL LUGENIA A        Previous Owner, Did City or County Tax               5/13/2007             2/13/2008       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for          (Lugenia Raphell)                                    [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                                              Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                            Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely                          Lakewood
                                                                                                                                                                                                                             0.86                 94.47              $98,249                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     9/27/2011       //2007          Yes                                                                            Yes        //            No              Yes             No                                //                                                                              //                                     11/2011-5/2012                      $48,780.81     5/2012      $6,160.32                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                         Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           as supporting materials for each remediated property.
  193   RP         Nunez, Patricia           22 E. Carmack Drive   Chalmette      LA      70043   [VII], [XV],            1/14/2011   Yes      Yes          1398              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA" and      17                      I           HESSLER, EDWIN, II       Previous Owner, Did City or County Tax               7/28/2011            11/21/2014       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                5.9.18                                                                                         House was down to studs when purchased.
                                                                                                  [XVI], [XVII]                                                                                                                                                                                                    "EXCEEDS ASTM C1396 04                                                                Not Own Property on Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                              No                                                                                                                    Contractor installed CDW from Feb 2007 - June
                                                                                                                                                                                                                             0.86                 94.47             $132,069                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential      9//2006      2/15/2007                                                                                                   //                                            No                                //                                        Foreclosure                        9//2013       40000.           No
                                                                                                                                                                                                                                                                                                                   STANDARD" matches DIG #3                                                              6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                        Inspection                                                                                                               2007 and it was discovered October 2010 after
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               AC was replaced for the 2nd time in 2 years
  194   Ex 10/79   OIP, LLC                  3509 Decomine Street Chalmette       LA      70043   [IX], [XV],              5/5/2011   Yes      Yes          1800      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           HANSEN, KRISTY LYNN Previous Owner, Did City or County Tax                    1/26/2007             1/31/2014       Parker Waichman                     Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                                  3.8.18                                                                                                                                                                                                                                                                                                                                                                 June 2011 to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No
                                                                                                  [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $170,046                                                                                                                        Not Own Property on Records                                                                                                         27300 Riverview Center Blvd                                                                                                                                                                                                                   N/A                             No                             Residential     5/31/2007     ??/??/2007         No          12/2010                                                                  1/23/2014         No              No              No                                //                                                                              //                                       Approx May       Kristy Hansen    60,757.28      5/2012                      22,500.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection
                                                                                                                                                                              Footage                                                                                                                                                                                                               6/9/15                                                                                                                              Bonita Springs, FL 34134                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2012
  195   Ex 10/79   Pennington, Dorothy       302 West Shannon      Harahan        LA      70123   [II], [VII], [XV],      3/15/2010   Yes      Yes          1028      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo                                        27                 D           JEFFREY AGNEW       Previous Owner,     Tax Records + Title/Deed              8/21/2006                             Martzell & Bickford                 Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                        3.13.18                                                                                            Tenet complained of smell and the air
                                             Lane                                                 [XVI], [XVII]                                                       Plan and Square Footage                                                                                                                                                                                                       Unknown Purchase                                                                                                                    338 Lafayette Street                                                                                                                                                                                                                                                                                                                                                                   conditioning, refrigerator and other electronics
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No                                                                                                                                                                                                                                                                                                                                                                             Completely     June 2011 - May
                                                                                                                                                                                                                             0.86                 94.47              $97,115                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                                             8/??/2006     ??/??/2007         No           4/2009        were breaking. Saw local news coverage             No     3/31/2016         No              Yes             No                                //                                                                              //                                                            Self         98, 643.39     5/2012                      49,725.00
                                                                                                                                                                                                                                                                                                                                                                                                    Date                                                                                                                                New Orleans, LA 70130                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated          2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              regarding Chinese drywall and had the property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 checked out.
  196   RP         Pierre, Renior and Sherry 5651 St. Bernard      New Orleans    LA      70122   [VII], [XV],            1/14/2011   Yes      Yes          3315              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                      I           GRAFFAGNINI RACHEL Previous Owner, Did City or County Tax                    12/15/2006             8/20/2013       Gainsburgh Benjamin                 Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                 4.16.18
                                             Avenue                                               [XVI], [XVII]                                                                                                                                                                                                    OR EXCEEDS ASTM C1396                                        A                  Not Own Property on Records                                                                                                          2800 Energy Centre                                                                                                                                                                                                                                              No                                                                                                                    I became aware after being annoyed of a rotten                                                                                                                                                               Approx                         Approx                                                                                                      Consult       Consult
                                                                                                                                                                                                                             0.86                 94.47             $313,168                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential    12/15/2006      3/1/2007          No                                                                                   2/1/2014          No              No              No              NA                //                                                                              //                                           NA                               NA                         NA
                                                                                                                                                                                                                                                                                                                   04 STANDARD" matches DIG                                     PIERSON BLAYNE R   6/9/15                                                                                                                               1100 Poydras Street                                                                                                                                                                                                                                          Inspection                                                                                                                  smell, faulty electrical outlets, fixtures, etc.                                                                                                                                                        $205,000.00                    $150,000.00                                                                                                  Attorneys     Attorneys
                                                                                                                                                                                                                                                                                                                   #3                                                                                                                                                                                                                   New Orleans, LA 70163
  197   Ex 10/79   Prosser, Charles; Davis, 725 Navarre Avenue     New Orleans    LA      70124   [XIII], [XV],            7/5/2011   Yes      Yes          1602      Appraisal Showing Floor           Yes                                                                         IMT             Photo          de in China IMTGYPSUM; 4 30, 31                  F           ECKER BRANDON J          Previous Owner, Did City or County Tax               8/29/2008             7/26/2012       Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                   Laura Prosser, as                                                              [XVI], [XVII]                                                       Plan and Square Footage                                                                                                                      feet x 12 feet x                                             ECKER ELIZABETH T        Not Own Property on Records                                                                                                    820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No
                   Administrator of the Estate                                                                                                                                                                               0.86                 94.47             $151,341                                                                                                                             6/9/15                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                         N/A                             No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection
                   of Charles Harris Prosser

  198   Ex 10/79   Rogers, Billy W. on behalf 3236 Van Cleave      Meraux         LA      70075   [II(B)], [XV],          12/6/2010   Yes      Yes          1436      Property Tax Assessor's           No                                                                          Crescent City   Photo          "Made in China Crescent City 27                  D           MACKEY, HERMAN           Previous Owner, Did City or County Tax               8/9/2006              7/22/2011       Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.     504-271-8422     storres@torres-law.com
                   of Rogers Company                                                              [XVI], [XVII]                                                        Document with Square                                                                                                                        Gypsum Incorporated"                                         RICHARD, JR.             Not Own Property on Records                                                                                                     8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                             0.86                 94.47             $135,659                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No
                                                                                                                                                                              Footage                                                                                                                                                                                                                    6/9/15                                                                                                                          Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043
  199   Ex 10/79   Rogers, Billy W. on behalf 4501 Colony Drive    Meraux         LA      70075   [II(B)], [XV],          12/6/2010   Yes      Yes          1550      Property Tax Assessor's           No                                                                          Crescent City   Photo          Made in China Crescent City   27                 D           DUBOSE, ANGEL            Previous Owner, Did City or County Tax              12/19/2011             8/7/2012        Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.     504-271-8422     storres@torres-law.com
                   of Rogers Company          Meraux, LA 70075                                    [XVI], [XVII]                                                        Document with Square                                                                                                                        Gypsum                                                                                Not Own Property on Records                                                                                                     8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                             0.86                 94.47             $146,429                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No
                                                                                                                                                                              Footage                                                                                                                                                                                                                    6/9/15                                                                                                                          Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043
  200   Ex 10/79   Rogers, Billy W. on behalf 4505 Colony Drive    Meraux         LA      70075   [II(B)], [XV],          12/6/2010   Yes      Yes          1450      Property Tax Assessor's           No                                                                          Crescent City   Photo          Made in China Crescent City   27                 D           WESBY, GLENN             Previous Owner, Did City or County Tax               8/9/2006              8/7/2012        Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.     504-271-8422     storres@torres-law.com
                   of Rogers Company          Meraux, LA 70075                                    [XVI], [XVII]                                                        Document with Square                                                                                                                        Gypsum                                                                                Not Own Property on Records                                                                                                     8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                             0.86                 94.47             $136,982                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No
                                                                                                                                                                              Footage                                                                                                                                                                                                                    6/9/15                                                                                                                          Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043
  201   Ex 10/79   Rogers, Michelle L. (nka 8313 Creole Drive      Chalmette      LA      70043   [III], [VII], [IX],     10/7/2009   Yes      Yes          1361              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                      I           SANTANA, VALERIE         Previous Owner, Did City or County Tax               10/2/2007             2/23/2012       Herman, Herman & Katz                Russ Herman, Esq.               (504) 581-4892   rherman@hhklawfirm.com
                   Michelle Canepa)                                                               [XV], [XVI],                                                                                                                                                                                                     OR EXCEEDS ASTM C1396                                                                 Not Own Property on Records                                                                                                     820 O'Keefe Avenue                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                             0.86                 94.47             $128,574                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No
                                                                                                  [XVII]                                                                                                                                                                                                           04 STANDARD" matches DIG                                                              6/9/15                                                                                                                          New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection
                                                                                                                                                                                                                                                                                                                   #3
  202   RP         Schenck, Vickie and Gary 308 St. John the BaptistChalmette     LA      70043   [VII], [XV],            1/14/2011   Yes      Yes          1577      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum"   27                      D           HEMSTAD, MICHAEL         Previous Owner, Did City or County Tax               7/10/1996             2/17/2012       Lemmon Law Firm                     Andrew Lemmon, Esq.          985-783-6789         andrew@lemmonlawfirm.com                                                                                                                                                                                                              3.14.18                                                                                       During Hurricane Katrina 2/2005 our home and
                                                                                                  [XVI], [XVII]                                                       Plan and Square Footage                                                                                                                                                                                                            Not Own Property on Records                                                                                                    PO Box 904 (mailing address)                                                                                                                                                                                                                                                                                                                                                          11 ft. of water. We installed the CDW in 2007.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No                                                                                                                                                                                                                                                                                                                                                                             Completely     10/2010 through      self and
                                                                                                                                                                                                                             0.86                 94.47             $148,979                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     7/1/1996       5/3/2007          No          10/2010      In October 2010, our a/c contractor replaced                12/5/2011         No              Yes             No                                //                                                                              //                                                                         70,000.00     12/2011      10,000.00       12,000.00     50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                         6/9/15                                                                                                                         15058 River Road                                                                                                                                                                                                                                             Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated         12/2011         contractor
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               the a/c coil and suggested we have the home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Hahnville, LA 70057
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 inspected.
  203   RP         Schwab, David and         6352 General Diaz     New Orleans    LA      70124   [XV], [XVI],             7/5/2011   Yes      Yes          2032        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           LAMONTE NICHOLAS A Previous Owner, Did City or County Tax                    10/23/2006             6/22/2012       Bruno & Bruno, LLP                  Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                              3.22.18                                                                                         When tenant moved out and the a/c was off,                                                                                                                                                                                                                                                 Dave's
                   Melissa                   Street                                               [XVII]                                                                                                                                                                                                           Gypsum"                                                      LAMONTE TERRI P    Not Own Property on Records                                                                                                          855 Baronne Street                                                                                                                                                                                                                                                                                                                                                                       extreme smell when walking in front door.                                                                                                                                                                                                                                             Mechanical &
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Called Ahl drywall to check the sheetrock after                                                                                                                                                                                                                                            Electrical,
                                                                                                                                                                                                                                                                                                                                                                                                   6/9/15                                                                                                                               New Orleans, 70113                                                                                                                                                                                                                                              No                                                                                                                                                                                                                                                                                                                                                                             Completely      May 2011 to
                                                                                                                                                                                                                             0.86                 94.47             $191,963                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                            Commercial      10/23/2006      1/5/2007          No           4/2011       multiple plumbers said it was not sewer gas.               6/22/2012        Yes              Yes             No                                //                                                                              //                                                      Trahan Home        180,174.98     6/2012                      50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated       May 2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Property was inspected in April 2011 and                                                                                                                                                                                                                                            Improvements,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               December 2011 and it was confirmed that the                                                                                                                                                                                                                                                Littleton
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    property contained Chinese drywall.                                                                                                                                                                                                                                                  Plumbing
  204   Ex 10/79   Seelig, Samuel P.         152 Elaine Avenue     Harahan        LA      70123   [II(A)], [VII],         9/16/2010   Yes      Yes          2768      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Made in China Crescent"      27                 D           SANTOPADRE,GINA M        Previous Owner,       Tax Records + Title/Deed       8/7/2009                              Herman, Herman & Katz               Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                5.25.18                                                                                                                                                                                                                                                                                                                                                                                    Driskill
                                                                                                  [XIII], [XV],                                                       Plan and Square Footage                                                                                                                                                                                                            Unknown Purchase                                                                                                               820 O'Keefe Avenue                                                                                                                                                                                                                                              No                                                                                                                                                                                                                                                                                                                                                                             Completely     December 2012 - Environmental
                                                                                                                                                                                                                             0.86                 94.47             $261,493                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     9/??/2009      ??/??/??          No           9/2009                                                                  5/15/2014         No              Yes             No                                //                                                                              //                                                                         75,339.00     12/2013      59,285.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated     December 2013 and Mid South
                                                                                                  [XVI], [XVII]                                                                                                                                                                                                                                                                                          Date                                                                                                                           New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Developers
  205   Ex 10/79   Sentino, Hubert           3605/3607 Frenchmen New Orleans      LA      70122   [IX], [XV],              5/5/2011   Yes      Yes          1394      Property Tax Assessor's           Yes                                                                         Taihe           Photo           "MADE IN CHINA MEET      18, 20                 I           3631 FRENCHMEN, LLC Previous Owner, Did City or County Tax                    2/9/2007              6/24/2012       Hurricane Legal Center, LLC         Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                             Street                                               [XVI], [XVII]                                                        Document with Square                                                                                                                         OR EXCEEDS ASTM C1396                                                           Not Own Property on Records                                                                                                         Young Law Firm                                                                                                                                                                                                                                                  No
                                                                                                                                                                                                                             0.86                 94.47             $131,691                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No
                                                                                                                                                                              Footage                                                                                                                               04 STANDARD" matches DIG                                                        6/9/15                                                                                                                              1010 Common St., Suite 3040                                                                                                                                                                                                                                  Inspection
                                                                                                                                                                                                                                                                                                                    #3                                                                                                                                                                                                                  New Orleans, LA 70112
  206   RP         Simon, Catherine          3817 Napoleon Avenue New Orleans     LA      70125   [II], [VII], [IX],      3/15/2010   Yes      Yes          3481              Other                     Yes                                                                         Crescent City   Affidavit from                           27                     D           AHN BONNIE M             Previous Owner, Did Tax Records + Title/Deed         10/7/2008             5/2/2011        The Lambert Firm                    Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                           3.21.18                                                                                           Purchased home for renovations. Fully
                                                                                                  [XV], [XVI],                                                                                                                                                                                      Homeowner                                                                                            Not Own Property on                                                                                                            701 Magazine St,                                                                                                                                                                                                                                                No                                                                                                                    renovated home was placed on market for sale.                                                                                                                                                                                                            Completely       3/23/2010 -     sub-contractors
                                                                                                                                                                                                                             0.86                 94.47             $328,850                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     10/7/2008     11/8/2008          No          12/2009                                                                  5/2/2011          No              Yes                                                                                                                                                                                                          181,796.88    10/2010        34,400        362,295          no
                                                                                                  [XVII]                                                                                                                                                                                            and Fly Systems                                                                                      6/9/15                                                                                                                         New Orleans LA 70130                                                                                                                                                                                                                                         Inspection                                                                                                               Received potential offer. Buyer performed home                                                                                                                                                                                                           remediated       12/25/2010          (many)
                                                                                                                                                                                                                                                                                                    Letter                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    inspection and Chinese drywall was discovered.
  207   Ex 10/79   Stanich, Dorothy          1912 Duels            New Orleans    LA      70119   [II], [XV],             3/15/2010   Yes      Yes          1549      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Cr"            27                 D           LUCAS PAULO H            Previous Owner, Did City or County Tax               8/5/2008             12/13/2013       Baron & Budd, P.C.                  Russell Budd, Esq.            (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                                   5.8.18                                                                                         Tenant damage to kitchen walls and a strong
                                                                                                  [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                     CHURA ANDREA             Not Own Property on Records                                                                                                    Baron & Budd                                                                                                                                                                                                                                                                                                                                                                          odor prompted a visual inspection by Claimant
                                                                                                                                                                              Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                                   No                                                                                                                    which revealed black on the copper water lines                                                                                                                                                              Plaintiff will
                                                                                                                                                                                                                             0.86                 94.47             $146,334                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     8/5/2008      10/??/2008         No          11/2009                                                                      //                                            No                                //                                        Foreclosure                       12/13/2013      N/A             No                                                                                       150,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219                                                                                                                                                                                                                                             Inspection                                                                                                               and corroded wiring. Defective Chinese drywall                                                                                                                                                             supplement.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 was confirmed by Driskell Environmental
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Consultants LLC in November 2009.
  208   RP         Staton, Lori Ann          1216 Magnolia Alley   Mandeville     LA      70471   [IX], [XV],              5/5/2011   Yes      Yes          1652        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                         I           ANDRES, SCOTT D          Previous Owner, Did Tax Records + Title/Deed         6/20/2007             10/1/2010       Becnel Law Firm, LLC                Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Everyone on street was having AC problems
                                                                                                  [XVI], [XVII]                                                                                                                                                                                                    OR EXCEEDS ASTM C1396-                                       ETUX                     Not Own Property on                                                                                                            425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                             0.79                 86.78             $143,361                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     6/20/2007       //2007           No           3/2009       and other issues. Had home inspected and                   10/1/2010         No              Yes             No                                //                                        Short Sale      $96,347.04        10/1/2010    135000.00          No                                                                        63078.38        50,000.00    200,000.00
                                                                                                                                                                                                                                                                                                                   04 STANDARD" matches DIG                                                              6/9/15                                                                                                                         LaPlace, LA 70064                                                                                                                                                                                                                                            Inspection                                                                                                                           found Chinese Drywall.
                                                                                                                                                                                                                                                                                                                   #3
  209   RP         Staub, Dana and Marcus    1208 Magnolia Alley   Mandeville     LA      70471   [III], [VII],           10/7/2009   Yes      Yes          1663        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA" and          15                  I           DIKET, JOHNATHAN         Previous Owner,     Tax Records + Title/Deed         8/21/2007                             Becnel Law Firm, LLC                Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.9.18                                                                                         Everyone in the neighborhood was having AC                                                                                                                                  Standard
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      No                No                                                                                                                                                                                                                                             Eastern District
                                                                                                  [XV], [XVI],                                                                                                               0.79                 86.78             $144,315                                       "MEETS OR EXCEEDS                                            TULL                     Unknown Purchase                                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                                   No                             Residential     8/21/2007      6//2006           No           3/2009       issues so we called an inspector and found                     //                                            Yes                           6/22/2010        10-12218    Discharge-Case Foreclosure       $217,298.59        8/4/2010                       No                                                                        38,000.00       75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Remediation    Inspection                                                                                                                                                                                                                                         of Louisiana
                                                                                                  [XVII]                                                                                                                                                                                                           ASTM" matches DIG #3                                                                  Date                                                                                                                           LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                              Chinese Drywall in the home.                                                                                                                                         Closed
  210   Ex 10/79   Thomas, Herman and        2215 Joilet Street    New Orleans    LA      70118   [II], [VII], [XV],      3/15/2010   Yes      Yes          2094        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           BURKE ROBERT             Previous Owner, Did City or County Tax               7/19/1996             6/4/2015        Bruno & Bruno, LLP                  Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                              3.21.18                                                                                                                                                                                                                                                                                                191,385.18 with
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Property was inspected in December 2009 and
                   Valice                                                                         [XVI], [XVII]                                                        Floor Plan and Under                                                                                                                        Gypsum Incorporated                                          BURKE AMBER              Not Own Property on Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                                              No                                                                                                                                                                                                                                                                                                                             interest at 8.5%
                                                                                                                                                                                                                             0.86                 94.47             $197,820                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     7/11/1996       //2007           No          12/2009      it was confirmed that the property contained                    //                                            Yes                               //                                        Foreclosure                        6/4/2015                       No                                                                                        34,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                        per annum from
                                                                                                                                                                        Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                               6/9/15                                                                                                                         New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                   Chinese drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            4/1/09
  211   RP         Travelstead, Joel on behalf 36 West Carmack     Chalmette      LA      70043   [XV], [XVI],             7/5/2011   Yes      Yes          1500      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Cre"           27                 D           EASTERLING, STEPHON Previous Owner, Did City or County Tax                    2/23/2011             3/4/2011        Becnel Law Firm, LLC                Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.26.18                                                                                       Bought houses gutted and was going to repair.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Robert Jones of
                   of Chalmette                                                                   [XVII]                                                               Document with Square                                                                                                                                                                                     R.                  Not Own Property on Records                                                                                                         425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     No                                                                                                                      Purchased chinese drywall and installed in                                                                                                                                                                                                             Completely      March 2010-
                                                                                                                                                                                                                             0.86                 94.47             $141,705                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential     2/19/2007     ??/??/2007         No           4/2009                                                           No     2/23/2011         No              No              No                                //                                                                          2/23/2011     85000.00                                         Spectrum        29,877.26      6/2010                                    61,586.74
                   Redevelopment Parnters,                                                                                                                                    Footage                                                                                                                                                                                                               6/9/15                                                                                                                              LaPlace, LA 70064                                                                                                                                                                                                                                            Inspection                                                                                                                house. When selling the house an inspection                                                                                                                                                                                                             remediated       June 2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Ventures LLC
                   LLC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 found the Chinese Drywall.
  212   RP         Travelstead, Joel on behalf 51 West Carolina    Chalmette      LA      70043   [III(A)], [XV],         9/16/2010   Yes      Yes          1960      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."      27                 D           TUIKKA, DOROTHY          Previous Owner, Did City or County Tax               2/12/2007             5/29/2009       Becnel Law Firm, LLC                Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.26.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dinh's
                   of Chalmette                                                                   [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                     PARISH                   Not Own Property on Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     No                                                                                                                     Same as house on Carmack. Found out when                                                                                                                                                                                                                Completely     April 2009-June                                                                                            House was bought gutted to flip. Had to fix house twice and ending up losing $96,567.37 on the sale
                                                                                                                                                                                                                             0.86                 94.47             $185,161                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                                             1/26/2007     ??/??/2007         No           4/2009                                                           No     5/28/2009         No              No              No                                //                                                                              //                                                      Renovation and     22,372.35      6/2009                                    96,567.37
                   Redevelopment Parnters,                                                                                                                                    Footage                                                                                                                                                                                                                    6/9/15                                                                                                                         LaPlace, LA 70064                                                                                                                                                                                                                                            Inspection                                                                                                               selling house, inspector found Chinese Drywall.                                                                                                                                                                                                          remediated           2009                                                                                                                                 of the house after Chinese drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Construction LLC
                   LLC
  213   Ex 10/79   Verrino, Anthony and        2408 Creely Drive   Chalmette      LA      70043   [II(B)], [XV],          12/6/2010   Yes      Yes          1524      Property Tax Assessor's           No                                                                          Crescent City   Photo          "Made in China Crescent City 27                  D           LOVELL, CHERIE A. & Previous Owner, Did City or County Tax                    12/4/2006             5/22/2012       Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.     504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.23.18
                   Diane                                                                          [XVI], [XVII]                                                        Document with Square                                                                                                                        Gypsum Incorporated                                          LOVELL, JESS ROBERT Not Own Property on Records                                                                                                          8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                      Report after inspection by materials analytic                                                                                                                                                                                                                                                                                                                                                                              other damages:
                                                                                                                                                                                                                             0.86                 94.47             $143,972                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential    11/28/2006     4/??/2007          No           5/2010                                                                  5/18/2012         No              No              No                                //                                                                              //                          No                                                                                       122,000.00
                                                                                                                                                                              Footage                                                                                                                              Manufactured in P.R.C."                                                          6/9/15                                                                                                                               Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                 services, inc.                                                                                                                                                                                                                                                                                                                                                                             Loss of use - 61 months x $2000 = $122,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043
  214   RP         Wangler, Paul             5972 Louisville Street New Orleans   LA      70124   [VII], [XV],            1/14/2011   Yes      Yes          1820      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           GRANT GUY S              Previous Owner, Did Tax Records + Title/Deed         4/12/2007            11/14/2014       Martzell & Bickford                  Scott Bickford, Esq.            (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                        3.21.18                                                                                       Summer of 2010 we noticed the smell of rotten
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No                                                                                                                                                                                                                                                                                                                                                                             Completely       10/2010 -        Self and R&P
                                                                                                  [XVI], [XVII]                                                        Document with Square                                  0.86                 94.47             $171,935                                       Gypsum Incorporated                                          NELSON WILLIAM L         Not Own Property on                                                                                                             338 Lafayette Street                                                                                                                                                                                                                         N/A                             No                                             4/12/2007      7/1/2007          No          ??/2010      eggs in the home. We looked in the attic and               11/16/2014                                         No                                //                                                                              //                                                                         22,167.69      1/2011       2,056.42       12,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        12/2010         Construction
                                                                                                                                                                              Footage                                                                                                                              Manufactured in P.R.C."                                                               6/9/15                                                                                                                          New Orleans, LA 70130                                                                                                                                                                                                                                                                                                                                                                            found Chinese drywall.
  215   Ex 10/79   Washington, Monique       5251 East Idlewood    New Orleans    LA      70128   [IX], [XV],              5/5/2011   Yes      Yes          1416      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                 D           WASHINGTON               Previous Owner, Did City or County Tax               2/6/2002              5/30/2014       Hurricane Legal Center, LLC          Jacob Young, Esq.               (504) 522-4322   jacob@jacobyounglaw.com
                                             Court                                                [XVI], [XVII]                                                        Document with Square                                                                                                                                                                                     KENDALL J                Not Own Property on Records                                                                                                     Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                             0.86                 94.47             $133,770                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No
                                                                                                                                                                              Footage                                                                                                                                                                                                                    6/9/15                                                                                                                          1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70112
  216   Ex 10/79   Washington, Terry and     4654 Stephen Girard   New Orleans    LA      70126   [VII], [XV],            1/14/2011   Yes      Yes          1230      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEE"           19                 I           SECRETARY OF       Previous Owner,             City or County Tax                                                   Martzell & Bickford                  Scott Bickford, Esq.            (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                        5.14.18
                   Kathy                     Avenue                                               [XVI], [XVII]                                                        Document with Square                                                                                                                        matches DIG #3                                               HOUSING AND URBAN Unknown Purchase             Records                                                                                                   338 Lafayette Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No                                                                                                                        A/C continuously broke. A/C repairman
                                                                                                                                                                              Footage                                        0.86                 94.47             $116,198                                                                                                    DEVELOPME          Date                                                                                                                                  New Orleans, LA 70130                                                                                                                                                                                                                        N/A                             No                                              //1989         //2007                                                                                                 //2015          Yes                                                                //                                        Foreclosure      Unknown            //2015                        No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                    suggested it might be chinese drywall.
                                                                                                                                                                                                                                                                                                                                                                                NT OF WASHINGTON D
                                                                                                                                                                                                                                                                                                                                                                                C
  217   Ex 10/79   Whitfield, Douglas and    2609 Veronica Drive   Chalmette      LA      70043   [II(B)], [IX],          12/6/2010   Yes      Yes          2067      Property Tax Assessor's           Yes                                                                         Crescent City   Inspection                                   N/A                D           ESPIRITU, ROMEO    Previous Owner, Did         City or County Tax             8/28/2009            11/17/2010       Parker Waichman                     Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No
                   Sherry deLeon, Gordon                                                          [XV], [XVI],                                                         Document with Square                                  0.86                 94.47             $195,269                        Report                                                                                         Not Own Property on         Records                                                                                                  27300 Riverview Center Blvd                                                                                                                                                                                                                   N/A                             No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection
                   and Donna                                                                      [XVII]                                                                      Footage                                                                                                                                                                                                              6/9/15                                                                                                                               Bonita Springs, FL 34134
  218   RP         Wilfer, Rosanne           1202 Magnolia Alley   Mandeville     LA      70471   [III], [VII],           10/7/2009   Yes      Yes          1768               Other                    Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15                         I           ROSENFELD, DAVID B Previous Owner,             Tax Records + Title/Deed       2/29/2008                             The Lambert Firm                    Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                           3.22.18                                                                                                                                                                                                                                                                                                                                                               7/2010-5/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                  [XV], [XVI],                                                                                                               0.79                 86.78             $153,427                                       OR EXCEEDS" matches DIG                                      ETUX               Unknown Purchase                                                                                                                     701 Magazine St,                                                                                                                                                                                                                              N/A                             No                             Residential     2/29/2008       //2006           No            2009                                                                   3/14/2014         No                                                                                                                                                                                          AC Coils        R&L Builders     110,939.00     6/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                  [XVII]                                                                                                                                                                                                           #3                                                                              Date                                                                                                                                 New Orleans LA 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             10/2013
  219   Ex 10/79   Williams, Albert          3015 Clouet Street    New Orleans    LA      70126   [IX], [XV],              5/5/2011   Yes      Yes          1028      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                      I           SCERKA LLC         Previous Owner, Did         City or County Tax             2/1/2006             10/29/2012       Hurricane Legal Center, LLC         Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                  [XVI], [XVII]                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                           Not Own Property on         Records                                                                                                  Young Law Firm                                                                                                                                                                                                                                                  No
                                                                                                                                                                                                                             0.86                 94.47              $97,115                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No
                                                                                                                                                                              Footage                                                                                                                              04 STANDARD" matches DIG                                                        6/9/15                                                                                                                               1010 Common St., Suite 3040                                                                                                                                                                                                                                  Inspection
                                                                                                                                                                                                                                                                                                                   #3                                                                                                                                                                                                                   New Orleans, LA 70112
  220   RP         Wischler, Robert          3387 Desaix Boulevard New Orleans    LA      70119   [III], [VII],           10/7/2009   Yes      Yes          1287      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA," matches 15                      I           ST PIERRE PHILIP D       Previous Owner, Did City or County Tax               3/24/2008            11/30/2012       Becnel Law Firm, LLC                Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.16.18                                                                                         Used Chinese Drywall to repair home after
                                                                                                  [XV], [XVI],                                                        Plan and Square Footage                                                                                                                      DIG #3                                                                                Not Own Property on Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                             Completely     November 2011-
                                                                                                                                                                                                                             0.86                 94.47             $121,583                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                             No                             Residential      5//2002       3//2007           No           7/2009      Katrina. Heard later that Chinese drywall was               12//2012          No              No              No                                //                                                                              //                                                            Self         40,000.00                   8882.09        50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        July 2012
                                                                                                  [XVII]                                                                                                                                                                                                                                                                                                 6/9/15                                                                                                                         LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                     causing issues in houses so had mine checked.
  221   Ex 10/79   Wood, James               3401 Hazel Drive      Meraux         LA      70075   [III(A)], [XV],         9/16/2010   Yes      Yes          2828      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET     15, 17, 20               I           JACKSON, ALVIN F., III   Previous Owner, Did City or County Tax                 2008                3/12/2013       Martzell & Bickford                 Scott Bickford, Esq.           (504) 581-9065     srb@mbfirm.com                                                                                                                                                                                                                        3.16.18                                                                                          The air conditioning unit suffered corrosion
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                  [XVI], [XVII]                                                       Plan and Square Footage                                0.86                 94.47             $267,161                                       OR EXCEEDS" matches DIG                                                               Not Own Property on Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                          N/A                             No                                             3/1/2007       6/1/2008          No           2/2010      issues twice in one year. The A/C repairman                     //            No              No              No                                //                                        Foreclosure      $170,000         2/27/2013                                  4/2010-12/2010       Unknown        160,000.00                   10,000         60,750
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                   #3                                                                                    6/9/15                                                                                                                         New Orleans, LA 70130                                                                                                                                                                                                                                                                                                                                                                            discovered Chinese drywall.
  222   Ex 10/79   Zito, Jessica Marchan,    9817 Paula Drive      River Ridge    LA      70123   [XV], [XVI],             7/5/2011   Yes      Yes          1396      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13                       I           SEC OF HUD               Previous Owner, Did City or County Tax              10/24/2008             6/3/2015        Barrios, Kingsdorf & Casteix        Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                  3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        No                                                                                                                    Inspection performed in March 2012 confirmed
                   Jose                                                                           [XVII]                                                              Plan and Square Footage                                0.86                 94.47             $131,880                                       DIG #3                                                                                Not Own Property on Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                             No                             Residential    10/24/2008      6/1/2007          No           3/2012                                                                  6/3/2015                                          No                                //                                        Foreclosure     $208,861.47        6/3/2015                       No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                      the presence of Chinese drywall.
                                                                                                                                                                                                                                                                                                                                                                                                         6/9/15                                                                                                                         New Orleans, LA 70166
